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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 MICHIGAN DEPARTMENT OF
 ENVIRONMENTAL QUALITY,
                                        No. 1:18-cv-00039-JTN-ESC
       Plaintiff,
                                        HON. JANET T. NEFF
 v.
                                        MAG. SALLY J. BERENS
 WOLVERINE WORLD WIDE, INC.,
                                        CONSENT DECREE
       Defendant.

 and

 PLAINFIELD CHARTER TOWNSHIP
 and ALGOMA TOWNSHIP,

       Intervening Plaintiffs,

 v.

 WOLVERINE WORLD WIDE, INC.,

       Defendant.
                                    /

 WOLVERINE WORLD WIDE, INC.,

       Third-Party Plaintiff,

 v.

 3M Corporation,

       Third-Party Defendant.
                                    /
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                                CONSENT DECREE

      The Plaintiff is the Michigan Department of Environmental Quality 1

(“MDEQ”).

      The Intervening Plaintiffs are Plainfield Charter Township and Algoma

Township (the “Townships”).

      The Defendant is Wolverine World Wide, Inc. (“Wolverine”), a Delaware

Corporation, with its principal place of business located in Rockford, Michigan.

      MDEQ filed a Complaint and Amended Complaint in this action, asserting

claims under Section 7002(a)(1)(B) of the Resource Conservation and Recovery Act

(RCRA), 42 U.S.C. § 6972(a)(1)(B), and under Part 201 of the Michigan Natural

Resources and Environmental Protection Act (NREPA), Mich. Comp. Laws §

324.20101 et seq. MDEQ’s Amended Complaint alleges that: (i) Wolverine’s historic

manufacturing processes at its former tannery located at 123 Main Street,

Rockford, Michigan (the “Tannery site”) and Wolverine’s associated waste disposal

practices affecting multiple locations in Northern Kent County have caused or

contributed to conditions that present or may present an imminent and substantial

endangerment to health or the environment under Section 7002(a)(1)(B) of RCRA;

(ii) that Wolverine is responsible for causing a “release,” as defined in Section

20101(1)(pp) of the NREPA, Mich. Comp. Laws § 324.20101(1)(pp), that resulted in

exceedances of Michigan’s cleanup criteria adopted in January 2018 for PFOA

1Pursuant to Executive Order 2019-06, effective April 22, 2019, the Department of
Environmental Quality was renamed the Department of Environment, Great Lakes,
and Energy.

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(perfluorooctanoic acid) and PFOS (perfluorooctane sulfonate); (iii) that Wolverine

must abate the imminent and substantial endangerment resulting from its disposal

of solid waste in the North Kent Study Area; (iv) that Wolverine is responsible for

Response Activities to address the release and to pay the State of Michigan’s costs

for oversight, surveillance and performance of Response Activities, provision of

alternative water supplies, and State-led or State-approved health assessments or

health studies; and (v) that Wolverine is responsible for obligations under Part 201,

including but not limited to: determining the nature and extent of its releases of

hazardous substances; diligently pursuing Response Activities necessary to achieve

Michigan’s cleanup criteria; and providing alternative drinking water supplies

where PFOA, PFOS, and other per- and polyfluoroalkyl substances (“PFAS

Compounds”) pose an unacceptable risk to human health.

      Intervening Townships Plainfield Charter Township (“Plainfield”) and

Algoma Township (“Algoma”) also filed a Complaint and Amended Complaints

against Wolverine based on the alleged release of PFAS Compounds that impact the

clean water needs of many residents in the Townships under RCRA, NREPA, and

common law tort, including public nuisance.

      Plainfield operates a municipal water filtering and distribution system that

serves many areas within Plainfield and, pursuant to an agreement with Algoma, it

distributes treated water from its system to areas within Algoma. In this suit, the

Townships allege that municipal water was the most appropriate remedy for areas

within the two Townships that can be reasonably served by Plainfield’s municipal



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water system by extension and allege that, in other areas, a remedy of Wolverine

provided filters, enforced and regulated in part by local ordinances is the most

appropriate remedy.

        Wolverine has disputed MDEQ’s and the Townships’ allegations.

Nonetheless, Wolverine has voluntarily provided filtered water systems to certain

residences within Plainfield and Algoma. In cooperation with MDEQ, Wolverine

has also undertaken extensive investigations of groundwater and drinking water

within Plainfield and Algoma, and, under the direction of the United States EPA,

Wolverine has undertaken certain Response Activities at the Tannery and the

House Street Disposal Site.

        This Consent Decree resolves all claims that were or could have been alleged

by MDEQ and the Intervening Townships in the Amended Complaints, except as

expressly specified in Sections XXI (Natural Resource Damages), XXII (Reservation

of Rights by the State), and XXIV (Covenant Not to Sue by Defendant), arising out

of Wolverine’s alleged release of PFAS Compounds into the environment that came

to be located within or otherwise impact the North Kent Study Area, depicted in

Appendix A.

        The Parties agree, and the Court by entering this Consent Decree finds, that

the Response Activities set forth herein will abate the release or threatened release

of PFAS Compounds into the environment, control future releases, and protect

public health, safety, and welfare, and the environment in the North Kent Study

Area.



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      The execution of this Consent Decree by the Defendant is in compromise of

disputed claims, is for settlement purposes only, and is neither an admission, nor

denial, of liability with respect to any issue dealt with in this Consent Decree or any

other matter or litigation nor an admission, nor denial, of any factual allegations or

legal conclusions stated or implied herein.

      MDEQ’s filing of the Amended Complaint and entry into this Consent Decree

constitutes diligent prosecution by the State, under Section 7002(b)(2)(C)(i) of

RCRA, 42 U.S.C. § 6972(b)(2)(C)(i), of all matters alleged in the Complaint and

addressed by this Consent Decree.

      NOW, THEREFORE, without this Consent Decree constituting an admission

of any of the allegations in the Complaint or as evidence of the same, and upon the

consent of the Parties, by their attorneys, it is hereby ORDERED, ADJUDGED

AND DECREED:


                               I.    JURISDICTION

      1.1    This Court has jurisdiction over the claims set forth in the MDEQ

Amended Complaint and Intervening Townships’ Second Amended Complaint

under Section 7002(a) of RCRA, 42 U.S.C. § 6972(a); the federal Declaratory

Judgment Act, 28 U.S.C. § 2201; and 28 U.S.C. § 1331 (federal question). This

Court further has jurisdiction over the Intervening Townships’ CERCLA claims set

forth in its Second Amended Complaint under 42 U.S.C. § 9613(b); the federal

Declaratory Judgment Act, 28 U.S.C. § 2201; and 28 U.S.C. § 1331. This Court also

has supplemental jurisdiction over the MDEQ’s Michigan NREPA claims set forth

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 in its Amended Complaint and the Intervening Townships’ common law nuisance

 claims and state Michigan NREPA claims under 28 U.S.C. § 1367, because they are

 substantially related to the RCRA claims and form part of the same case or

 controversy. Venue lies in the Western District of Michigan pursuant to 33 U.S.C. §

 2717(b), 42 U.S.C. § 9613, and 28 U.S.C. § 1391. Defendant waives all objections

 and defenses that it may have with respect to jurisdiction of the Court or to venue

 in this District. Defendant shall not challenge this Court’s jurisdiction to enter and

 enforce this Consent Decree. For the purposes of this Consent Decree, Defendant

 admits that the Complaints in this action state claims against Defendant for which

 relief may be granted under RCRA and state law.

       1.2    The Court determines that the terms and conditions of this Consent

 Decree are fair, reasonable, adequately resolve the environmental issues raised in

 the public interest, and properly protect the interests of the people of the State of

 Michigan.

       1.3    The Court shall retain jurisdiction over the Parties and subject matter

 of this action until termination of this Consent Decree, for the purpose of resolving

 disputes arising under this Consent Decree or entering orders modifying this

 Consent Decree, pursuant to Sections XVIII (Dispute Resolution for MDEQ and

 Defendant) and XXVI (Modifications), or effectuating or enforcing compliance with

 the terms of this Consent Decree.




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                               II.    APPLICABILITY

       2.1    The obligations of this Consent Decree apply to and are binding upon

 the Parties and each of their successors, assigns, or other entities or persons

 otherwise bound by law to comply with this Consent Decree. In any action to

 enforce this Consent Decree, no Party shall raise as a defense the failure by any of

 its officers, directors, employees, agents, or contractors to take any actions

 necessary to comply with the provisions of this Consent Decree; nor shall any Party

 contest the right of any other Party to enforce any provisions of this Consent Decree

 that are enforceable by the other Party.

       2.2    No transfer or change of ownership or operation of Defendant,

 including, but not limited to, any transfer of assets or real or personal property,

 whether in compliance with the procedures of this Paragraph or otherwise, shall

 relieve Defendant of its obligation to ensure that the terms of this Consent Decree

 are implemented; nor shall any change in corporate status alter the rights and

 responsibilities of Defendant and its successors and assigns under this Consent

 Decree.

              (a)    Defendant shall provide MDEQ with written notice with no less

 than thirty (30) Days prior to its transfer of ownership of part or all of the Tannery

 or House Street Disposal Site and shall provide a copy of this Decree to any

 subsequent owners or successors prior to the transfer of any ownership rights.

 Defendant shall comply with the requirements of Mich. Comp. Laws § 324.20116.




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              (b)    Notwithstanding any transfer of Defendant’s interest in (i) the

 Tannery, or (ii) the House Street Disposal Site, or (iii) any real property where

 Defendant is required to implement Response Activities under this Consent Decree,

 Defendant shall remain obligated to Plaintiffs for performance of all requirements

 under this Consent Decree.

              (c)    Each Party shall provide a copy of this Consent Decree to all

 officers, employees, and agents whose duties might reasonably include compliance

 with any provision of this Consent Decree, as well as to any contractor retained to

 perform work required under this Consent Decree. Each party shall condition any

 contract to perform Response Activities required under this Consent Decree upon

 performance of the Response Activities in conformity with the terms of this Consent

 Decree. With regard to the activities undertaken pursuant to this Consent Decree,

 each of Defendant’s contractors and subcontractors shall be deemed to be in a

 contractual relationship with the Defendant within the meaning of Section

 20126(4)(d)(iii) of Part 201, Mich. Comp. Laws § 324.20126(4)(d)(iii).

       2.3    The signatories to this Consent Decree certify that they are authorized

 to execute this Consent Decree and to legally bind the parties they represent.


                         III.   STATEMENT OF PURPOSE

       The Parties have determined that entry of this Consent Decree will:

       3.1    Facilitate the continued performance of Response Activities required

 under Part 201 of the NREPA, including those required under this Consent Decree;




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       3.2    Ensure the performance of Response Activities required by this

 Consent Decree to address PFAS Compounds alleged to have been released by

 Defendant and impacting the North Kent Study Area and to protect public health,

 safety, and welfare, as required by law;

       3.3    Require Defendant to develop, implement and monitor certain

 Response Activities as required in this Consent Decree;

       3.4    Provide for the Defendant’s reimbursement of the State’s Future

 Response Activity Costs in accordance with Section XVI (Reimbursement of the

 State’s Costs);

       3.5    Resolve Wolverine’s liability under RCRA and Part 201 as provided

 herein and resolve all claims that were alleged or could have been alleged by MDEQ

 and the Townships in the Amended Complaints, except as expressly specified in

 Sections XXI (Natural Resource Damages), XXII (Reservation of Rights by the

 State), and XXIV (Covenant Not to Sue by Defendant), arising out of any release of

 PFAS Compounds within or that came to be located within or otherwise impact the

 North Kent Study Area; and

       3.6    Serve the public interest, abate imminent and substantial

 endangerment, and minimize litigation.


                                IV.   DEFINITIONS

       4.1    “Day” means a calendar day. “Working Day” shall mean a day other

 than a Saturday, Sunday, or state holiday. In computing any period of time under




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 this Consent Decree, where the last day would fall on a Saturday, Sunday, or state

 holiday, the period shall run until the close of business of the next Working Day.

       4.2    “Consent Decree” means this Consent Decree and any Appendices

 attached hereto, including any future modifications, and any reports, plans,

 specifications and schedules required by the Consent Decree which, upon approval

 of MDEQ, shall be incorporated into and become an enforceable part of this Consent

 Decree. In the event of a conflict between this Consent Decree and any Appendix or

 approved plan, this Consent Decree shall control.

       4.3    “Contributing Parties” means (i) persons from whom Defendant has

 sought and obtained contribution with respect to Defendant’s obligations under

 Sections VI (Municipal Water and Institutional Controls) and VII (Performance of

 Response Activities) hereunder, provided that Defendant submits written

 documentation to the MDEQ identifying such persons, and (ii) such persons’

 subsidiaries, affiliates, joint ventures, and current and former officers, directors,

 and employees. However, Waste Management of Michigan, its parents,

 subsidiaries, and affiliates shall not be considered Contributing Parties under this

 Consent Decree.

       4.4    “Conceptual Site Model” or “CSM” means a written and illustrative

 representation of the physical, chemical, and biological processes that control the

 transport, migration and actual and potential impacts of contamination to human

 and ecological receptors. The initial Conceptual Site Model shall be based on the




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 investigations performed to date, and a Conceptual Site Model shall at a minimum

 include:

              (a)    A written summary and discussion of the area geology,

 hydrogeology, and contaminant distribution;

              (b)    A written summary of environmental investigations and

 response activities in the area included within the CSM;

              (c)    Data tables which summarize any relevant sample results,

 monitoring well and sample depths, and piezometric elevations if available;

              (d)    Figures depicting sample and monitoring well locations;

              (e)    Any available groundwater contour maps, iso-concentration

 map;

              (f)    Cross section(s) illustrating the area geology, hydrogeology,

 contaminant distribution, and relative anthropologic information; and

              (g)    Three-dimensional visual representation of the subsurface

 geology and hydrogeology if available.

        The Conceptual Site Model shall be periodically updated as needed to reflect

 new data and information.

        4.5   “Defendant” means Wolverine World Wide, Inc. (“Wolverine”), a

 Delaware corporation with its principal place of business located in Rockford,

 Michigan, and its successors and its subsidiaries, affiliates, joint ventures, and

 current and former officers, directors, and employees (a list of such subsidiaries,

 affiliates, and joint ventures is set forth in Appendix B).



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       4.6    “DHHS” means the Michigan Department of Health and Human

 Services, its successor entities, and those authorized persons or entities acting on its

 behalf.

       4.7    “Effective Date” means the date that the Court enters this Consent

 Decree, as recorded on the Court’s docket.

       4.8    “Extend Municipal Water” includes, without limitation, new water

 mains; trunk lines; service lines to the homes; hookup from service lines to the

 home; administrative costs; connection, frontage, and other fees; engineering, legal,

 and other contingencies; and all fees and costs estimated in Prein & Newhof’s

 project estimates attached as Appendix C.

       4.9    “FAM” means the financial assurance mechanism or mechanisms that

 Defendant is required to establish and maintain pursuant to Section VIII (Financial

 Assurance) of this Consent Decree, to secure the Defendant’s Long-Term Response

 Activity Costs as defined in Paragraph 4.15 of this Consent Decree.

       4.10   “Filter Areas” means those areas in the North Kent Study Area where

 municipal water will not be extended as a requirement of this Consent Decree.

 Filter Areas are depicted in Appendix D—Map of Filter Areas.

       4.11   “Future Response Activity Costs” means all costs incurred by the State

 after the Effective Date that are response activity costs as defined in Mich. Comp.

 Laws § 324.20101(ww), to oversee, enforce, monitor, and document compliance with

 this Consent Decree, and to perform those Response Activities as defined in Mich.

 Comp. Laws § 324.20101(yy) that are required by this Consent Decree including:



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 evaluation, interim response activity, remedial action, demolition, providing an

 alternative water supply, costs related to health assessments or health effect

 studies carried out under the supervision, or with the approval of, DHHS related to

 Response Activities, or the taking of other actions necessary to protect the public

 health, safety, or welfare, or the environment or the natural resources. Future

 Response Activity Costs also include, but are not limited to, the State’s costs

 incurred after the Effective Date to monitor Response Activities, observe and

 comment on field activities, review and comment on submissions, collect and

 analyze samples, evaluate data, purchase equipment and supplies to perform

 monitoring activities, attend and participate in meetings, prepare and review cost

 reimbursement documentation, and perform Response Activities pursuant to

 Paragraph 7.17 (The State’s Performance of Response Activities) and Section XI

 (Emergency Response). Contractor costs are also considered Future Response

 Activity Costs. Notwithstanding the preceding sentences, Future Response Activity

 Costs do not include (1) costs incurred for the Groundwater Investigation in Area R-

 1 (19) as provided in Paragraph 7.9(b)(B)(ii), or (2) MDEQ costs of additional

 Response Activities voluntarily conducted by MDEQ in the North Kent Study Area

 that are not oversight of Response Activities Defendant is required to perform

 under this Consent Decree or enforcement thereof, however Future Response

 Activity Costs do include costs incurred pursuant to Paragraph 7.17 or Section XI

 (Emergency Response).




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       4.12   “House Street Disposal Site” means the property located at 1855 House

 Street in Belmont, Michigan and associated adjacent properties where Wolverine

 historically disposed of tannery waste and as depicted in Appendix E—Map

 depicting the House Street Disposal Site.

       4.13   “Interest” means interest that accrues at the rate and by the method

 specified in Section 20126a(3) of Part 201, Mich. Comp. Laws § 324.20126a(3).

       4.14   “Intervening Townships” means Plainfield Charter Township and

 Algoma Township.

       4.15   “Long-Term Response Activity Costs” means those costs necessary to

 assure the performance of monitoring, operation and maintenance, oversight, and

 other costs that are determined by MDEQ to be necessary to assure the

 effectiveness and integrity of the Response Activities required by this Consent

 Decree.

       4.16    “MDEQ” means the Michigan Department of Environmental Quality

 (the name of the agency at the time the lawsuit was filed) and now known as the

 Michigan Department of Environment, Great Lakes, and Energy (EGLE), its

 successor entities, and those authorized persons or entities acting on its behalf.

       4.17   “Municipal Water Areas” means those areas in the North Kent Study

 Area where municipal water will be extended under this Consent Decree,

 specifically areas 1, 2, 3, 4, 7, 8, 9, 10, 13, 16, 17, and 18 as depicted in Appendix

 F—Map of Municipal Water Areas.




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        4.18   “Natural Resource Damages” means damages for injury to, destruction

 of, or loss of natural resources, and the costs for any natural resource damage

 assessment, whether recoverable under CERCLA, Michigan statute, or common

 law.

        4.19   “North Kent Study Area” means the area of investigation that is

 relevant to this litigation as depicted in Appendix A—Maps of North Kent Study

 Area. The North Kent Study Area is comprised of the residential well sampling

 areas for House Street, Wolven/Jewell, Wolven Northeast, Twelve Mile and

 Summit, Rogue River, and North Childsdale (as more specifically depicted in map 2

 of Appendix A) and the Tannery and House Street Disposal Site. The geographic

 extent of the North Kent Study Area may be expanded by written agreement

 between Defendant and MDEQ.

        4.20   “Part 31” means Part 31, Water Resources, of the NREPA, Mich.

 Comp. Laws § 324.3101 et seq., and the Part 31 Administrative Rules.

        4.21   “Part 115” means Part 115, Solid Waste Management, of the NREPA,

 Mich. Comp. Laws § 324.11501 et seq., and the Part 115 Administrative Rules.

        4.22   “Part 201” means Part 201, Environmental Remediation, of the

 NREPA, Mich. Comp. Laws § 324.20101 et seq., criteria developed pursuant to

 Mich. Comp. Laws § 324.20120a, and the Part 201 Administrative Rules.

        4.23   “Party” means the Defendant, the State, or an Intervening Township.

 “Parties” means the Defendant, the State, and the Intervening Townships.




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       4.24   “PFAS Compounds” are human-made fluorinated organic chemicals

 and include both per- and polyfluorinated chemicals. Perfluorinated chemicals have

 carbon chain atoms that are totally fluorinated, while polyfluorinated chemicals

 have at least one carbon chain atom that is not totally fluorinated (Buck et al.

 2011). For purposes of this Consent Decree, “PFAS Compounds” shall be limited to

 the list of PFAS Compounds in Appendix G—PFAS Compounds.

       4.25   “Response Activity Plan” means a plan for undertaking Response

 Activities. A Response Activity Plan may include one or more of the following:

              (a)    A plan to undertake Response Activities required by this

 Consent Decree;

              (b)    A plan to undertake interim Response Activities;

              (c)    A plan for remedial investigation;

              (d)    A Feasibility Study;

              (e)    An Operation and Maintenance Plan; or

              (f)    A Remedial Action Plan.

       4.26   “RCRA” means the Resource Conservation and Recovery Act, 42 U.S.C.

 § 6901 et seq.

       4.27   “RRD” means the Remediation and Redevelopment Division of MDEQ

 and its successor entities.

       4.28   “State” or “State of Michigan,” unless otherwise specified in this

 Consent Decree, means the State of Michigan and its agencies and departments,




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 including DHHS, the Michigan Department of Attorney General (MDAG) and the

 MDEQ, and any authorized representatives acting on their behalf.

       4.29       “State Disposal Landfill Site” means the superfund site located at East

 Beltline and 4 Mile Road NE in Grand Rapids, Michigan.

       4.30       “Submissions” means all plans, reports, schedules, and other

 submissions that are required to be provided to the State or MDEQ pursuant to this

 Consent Decree. “Submissions” does not include the notifications set forth in

 Section XII (Force Majeure) of this Consent Decree.

       4.31       “Tannery” means all parcels of property located at 123 North Main

 Street in Rockford, Michigan where Wolverine historically operated a tannery to

 process hides and leathers for use in shoes, boots, and other consumer leather goods

 and as depicted in Appendix H—Map Depicting the Tannery.

       4.32       Unless otherwise stated herein, all other terms used in this Consent

 Decree, which are defined in Part 3, Definitions, of the NREPA, Mich. Comp. Laws §

 324.301, or Part 201, shall have the same meaning in this Consent Decree as in

 Part 3 and Part 201.


             V.      COMPLIANCE WITH STATE AND FEDERAL LAWS

       5.1        All actions required to be taken pursuant to this Consent Decree shall

 be undertaken in accordance with the requirements of all applicable state and

 federal laws, rules, and regulations, including, but not limited to, Part 31, Part 201,

 RCRA and its rules, and laws relating to occupational safety and health. Other

 State agencies may also be called upon to review the performance of Response

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 Activities under this Consent Decree. Compliance with this Consent Decree shall

 not be a defense to any action commenced by the State pursuant to any such laws or

 regulations except as set forth in Section XX (Covenant Not to Sue By the State)

 and Section XXII (Covenant Not to Sue By Intervening Townships).

       5.2    This Consent Decree does not relieve any Party’s obligations to obtain

 and maintain compliance with permits. Where any compliance obligation under

 this Consent Decree requires a Party to obtain a federal, state, or local permit or

 approval, the Party shall submit timely and complete applications and take all

 other actions necessary to obtain all such permits or approvals.


        VI.    MUNICIPAL WATER AND INSTITUTIONAL CONTROLS

       6.1    Municipal Water.

              (a)    The Plainfield Charter Township Water Department shall

 Extend Municipal Water to the parcels in the Municipal Water Areas listed and

 depicted in Appendix I—List of Parcels and Map of Municipal Water Areas.

                     (i)   Plainfield’s Water Department shall provide quarterly

 reports to MDEQ and Defendant, with the first report due within 30 days after the

 Effective Date, that document its municipal water installation progress in the

 Municipal Water Areas and its schedule for planned municipal water installation

 activities in the next quarter, including an estimated budget and schedule of likely

 payments for such planned activities, until the requirements of Paragraph 6.1(a)

 are completed.




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                     (ii)    Plainfield’s Water Department shall meet with MDEQ

 and Defendant annually between November 15 and December 15 to discuss its

 municipal water installation progress until the requirements of Paragraph 6.1(a)

 are completed.

                     (iii)   Beginning in September 2020 Plainfield’s Water

 Department shall provide a quarterly report to MDEQ and Defendant identifying

 those homes that have been hooked up to municipal water until the requirements of

 Paragraph 6.1(a) are completed.

              (b)    Plainfield will, at dates to be determined by Plainfield, and upon

 permits issued by MDEQ, construct a permanent granulated activated carbon

 (“GAC”) filtering system on its existing water treatment plant, develop and put into

 place a replacement wellfield for its Versluis wellfield, and expand the capacity of

 its water treatment plant, using the plant’s current technology, including its

 current lime residuals deposit system and fixtures.

              (c)    Defendant stipulates to fund the costs of Plainfield’s obligations

 under Paragraphs 6.1(a) and 6.1(b) above, subject to an aggregate cap of $69.5

 million. Defendant shall pay Plainfield as follows for the obligations under

 Paragraph 6.1(a):

              •      $11 million within 30 days from Plainfield’s notice to Defendant

              that Plainfield has received bid proposals for work to be performed in

              2020, and $10.5 million within 120 days from Plainfield’s notice to




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              Defendant that Plainfield has received bid proposals for work to be

              performed in 2020;

              •      $6.5 million within 30 days from Plainfield’s notice to Defendant

              that Plainfield has received bid proposals for work to be performed in

              2021, and $6.7 million within 120 days from Plainfield’s notice to

              Defendant that Plainfield has received bid proposals for work to be

              performed in 2021;

              •      $9.6 million within 30 days from Plainfield’s notice to Defendant

              that Plainfield has received bid proposals for work to be performed in

              2022, and $9 million within 120 days from Plainfield’s notice to

              Defendant that Plainfield has received bid proposals for work to be

              performed in 2022; and

              •      $4.7 million within 30 days from Plainfield’s notice to Defendant

              that Plainfield has received bid proposals for work to be performed in

              2023, and whatever remains of the $62 million within 120 days from

              Plainfield’s notice to Defendant that Plainfield has received bid

              proposals for work to be performed in 2023.

 Plainfield shall annually notify Defendant within 10 days after Plainfield has

 commenced preparation of its bid package for the work to be completed for the next

 construction season. If the funds to be advanced are insufficient to pay for the work

 performed in that time period, Defendant shall advance additional funds out of the

 next scheduled allocation within thirty (30) days of Plainfield’s written request until


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 the $62 million is exhausted. For the obligations under Paragraph 6.1(b),

 Defendant shall pay Plainfield for the estimated costs with a cap of $7.5 million.

 Within 60 days after Plainfield advises Defendant of its good faith estimates

 regarding a project under Paragraph 6.1(b), Defendant shall advance the estimated

 funds up to an aggregate cap of $7.5 million. Plainfield shall establish a segregated

 account for Defendant to make payments to hereunder and for Plainfield to pay

 contractors performing work hereunder. Account balance and transaction

 statements from the account shall be provided to all Parties. At the end of each

 calendar year until all obligations in Paragraph 6.1(a) are completed, Plainfield will

 provide Defendant and MDEQ a statement verifying the activities completed that

 year. Until the end of 2023, if advanced funds under Paragraph 6.1(a) or Paragraph

 6.1(b) in any one year have not been expended during that year, Plainfield will

 return the unexpended funds to the Defendant for use in the year or years

 upcoming.

              (d)   Defendant agrees with Plainfield that Defendant’s payment

 obligations under Paragraph 6.1(c) are incurred to obtain Plainfield’s performance

 as described above, are non-dischargeable in any bankruptcy or insolvency action

 and are an administrative obligation necessary for Defendant to achieve regulatory

 compliance under RCRA and/or NREPA. In the event that Defendant fails to make

 timely payments hereunder and upon application by Plainfield, Defendant will

 stipulate to the entry of an appropriate enforcement order and/or judgment from the

 Court.



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               (e)    In good faith, and to the extent permitted by law, the MDEQ

 will:

                      (i)    Assist Plainfield in identifying State grant funds

 available to water supplies addressing PFAS Compounds contamination, that

 Plainfield could seek for the construction of the permanent GAC plant and

 replacement wellfield for the Versluis wellfield; and

                      (ii)   Duly consider a timely, appropriate, and eligible

 application for such a grant by Plainfield.

         Plainfield will apply in a timely manner for any such available grant.

               (f)    Notwithstanding any other provision of this Decree, Wolverine

 shall not be deemed to be in violation or breach of either this Decree or any statute,

 regulations, or other law in the event that the connection of any property to a public

 water supply system cannot be completed by reason of the refusal, failure, or

 inability for any reason of either or both of the Intervenor Townships or other public

 owner or operator of a public water supply system, as applicable, to obtain any

 necessary authorization, enact any required ordinance or other local legislation,

 including an ordinance under paragraph 6.2 of this Consent Decree, or otherwise

 perform an act that is prerequisite to the licensing, construction, or operation of the

 desired connection or extension.

               6.2    Intervening Townships Ordinance Enactment.

               (a)    The Intervening Townships shall each enact the ordinances

 attached as Appendix J, prohibiting the use of groundwater in the Municipal Water



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 Areas and requiring connection to municipal water for drinking water in all areas

 where municipal water has been or will be installed, including those areas where

 Defendant pays for hookup.

              (b)    The ordinance shall also require the property owners in the

 Filter Areas who are provided filters pursuant to this Consent Decree to utilize the

 filters provided and provide necessary access to Defendant and its agents for the

 monitoring, repair, and maintenance of filter systems.

              (c)    Upon reasonable request, Defendant shall provide to the owner

 of a parcel who is seeking one of the Ordinance’s exceptions to the prohibitions on

 groundwater use, existing information in Defendant’s possession that may aid the

 parcel owner in obtaining such an exception.

              (d)    The Intervening Townships may amend Appendix J, provided

 that the above provisions are not removed while this Consent Decree is in effect.


              VII.   PERFORMANCE OF RESPONSE ACTIVITIES

       7.1    Performance Objectives.

       Defendant shall perform Response Activities in the North Kent Study Area

 as described in this Consent Decree in a manner that complies with the

 requirements of Part 201, including Section 20114 of Part 201, Mich. Comp. Laws §

 324.20114, to meet the following performance objectives:

              (a)    Continue to assess the impacts of Defendant’s releases of PFAS

 Compounds to groundwater as required by this Consent Decree.




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             (b)    Prevent exposures to PFOA + PFOS concentrations in excess of

 10 ppt or to PFAS Compounds in excess of applicable criteria for drinking water

 well users as required by this Consent Decree.

             (c)    Address PFAS Compounds contamination at the Tannery

 through compliance with the U.S. EPA Administrative Settlement Agreement and

 Order on Consent for Removal Actions and prevent PFAS Compounds from venting

 to the surface water above water quality standards issued under Part 31 as

 required by this Consent Decree.

             (d)    Implement Response Activities at the House Street Disposal

 Site to manage solid wastes at the House Street Disposal Site and reduce and

 control potential migration of PFAS compounds from soils and sludges into the

 groundwater from the House Street Disposal Site as required by this Consent

 Decree.

             (e)    Implement Response Activities to monitor the potential

 migration of and threat posed by PFAS Compounds in groundwater to drinking

 water wells outside the Municipal Water Areas as required by this Consent Decree.

             (f)    Implement Response Activities to define the nature and extent

 of PFAS Compounds in groundwater in the Filter Areas as required by this Consent

 Decree.

             (g)    Implement Response Activities to assess the potential for PFAS

 Compounds contamination in groundwater to vent to surface water as required by

 this Consent Decree.



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              (h)   Prevent, minimize, or mitigate injury to the public health,

 safety, or welfare, or to the environment as necessary in the course of the

 implementation of Response Activities.

              (i)   To the extent that the Defendant is the owner or operator of part

 or all of any Facility in the North Kent Study Area, undertake all Response

 Activities necessary to achieve and maintain compliance with Section 20107a of the

 NREPA at the Facility

              (j)   Assure the ongoing effectiveness and integrity of the Response

 Activities specified by this Consent Decree.

              7.2   Quality Assurance Requirements.

              (a)   Defendant shall conduct all its Response Activities required

 under this Consent Decree in accordance with its Quality Assurance Project Plan

 (“QAPP”) dated August 30, 2018 and any documents that supersede or amend the

 QAPP shall apply to the work plans required under this Consent Decree, to the

 extent they are applicable. Defendant, upon MDEQ approval, may amend or revise

 the QAPP from time to time. Five percent (5%) data validation will be required

 under the QAPP.

              (b)   For drinking water sample analysis, Defendant shall utilize an

 approved U.S. EPA methodology as specified in the QAPP.

              (c)   For groundwater samples from monitoring wells or points,

 Defendant shall utilize testing methods that follow published reference materials




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 applicable to groundwater as specified in the QAPP to meet project data quality

 objectives.

       7.3     Documentation of Compliance with Section 20107a of the

 NREPA.

       To the extent that the Defendant owns or operates the Tannery or the House

 Street Disposal Site, the Defendant shall maintain and upon the MDEQ’s request,

 submit documentation to the MDEQ within thirty (30) Days of such request, that

 summarizes the actions the Defendant has taken or is taking to comply with Section

 20107a of the NREPA and the Part 201 Rules. Failure of the Defendant to comply

 with the requirements of this paragraph, Section 20107a of the NREPA, or the Part

 201 Rules shall constitute a violation of this Consent Decree. Defendant shall not

 be deemed to be an “operator” of any property by virtue of Defendant’s inspection,

 investigation, removal, monitoring, or performance of any other response activity or

 action pursuant to this Consent Decree at such non-owned property, including

 without limitation the installation, operation, repair, or maintenance of any

 temporary or long-term alternative water supply, or any component thereof, at such

 non-owned property.

       7.4     Response Activity Work Plans.

               (a)   Defendant shall submit Response Activity Plans to MDEQ for its

 review and approval in accordance with the schedule in Appendix K—Schedule for

 Submittal of Response Activity Plans. The Response Activity Plan(s) shall set forth

 in detail the Response Activities to be performed as outlined in the initial



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 statements of work in Paragraphs 7.9(a) (Perimeter Wells), 7.9(b) (Groundwater

 Investigation and Monitoring Wells), and 7.10 (GSI Investigation). The Response

 Activity Plans may be organized by subject matter or by geography and will include,

 at a minimum, the following: (a) a Conceptual Site Model; (b) the proposed

 statement of work; (c) data quality objectives; (d) quality assurance and quality

 control; (e) schedules for performance of the Response Activities; (f) schedule for

 submittal of a Response Activity Plan that either (1) proposes no further

 investigatory Response Activities and contains, if required, a monitoring plan, or (2)

 proposes investigatory next steps; (g) proposed investigation methods; and (h)

 sampling and analytical methods and procedures.

              (b)    Defendant shall submit the Response Activity Plan for

 Operation and Maintenance to MDEQ for its review and approval in accordance

 with the schedule in Appendix K—Schedule for Submittal of Response Activity

 Plans. The Response Activity Plan shall set forth in detail the Response Activities

 to be performed as outlined in the initial statements of work in Paragraphs 7.5

 (Filters). The Response Activity Plan shall include, at a minimum, for all filters

 required under this Consent Decree (a) the operation and maintenance of filters; (b)

 a filter cessation plan; and (c) a performance monitoring plan for filters

              (c)    Defendant shall submit the Response Activity Plan for

 Residential Well Sampling to MDEQ for its review and approval in accordance with

 the schedule in Appendix K—Schedule for Submittal of Response Activity Plans.

 The Response Activity Plan shall set forth in detail the Response Activities to be



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 performed as outlined in the initial statements of work in Paragraphs 7.6

 (Residential Well Sampling). The Response Activity Plan shall include, at a

 minimum, (a) schedule for conducting residential well sampling in the Filter Areas;

 (b) locations and frequency where residential well sampling will occur, including the

 justification and rationale for the locations and frequency chosen; (c) data quality

 objectives; (d) quality assurance and quality control; (e) maps of sampling locations;

 and (f) tables summarizing existing residential well sampling results and well

 screen elevations.

              7.5     Filters.

              (a)     Defendant shall operate and maintain all whole house filters

 and point of use filters required to be installed, operated, or maintained pursuant to

 this Consent Decree in accordance with the performance objective in Paragraph

 7.1(b) as set forth in Appendix L—Statement of Work for Operation and

 Maintenance and the Response Activity Plan in Paragraph 7.4(b).

              (b)     Defendant will continue to operate and maintain all filters

 Defendant has installed as of the Effective Date in the Municipal Water Areas in

 accordance with Appendix L— Statement of Work for Operation and Maintenance

 and the Response Activity Plan in Paragraph 7.4(b) until municipal water is

 installed for that particular property owner.

              (c)     In the Filter Areas, Defendant will continue operation and

 maintenance in accordance with Appendix L— Statement of Work for Operation




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 and Maintenance and the Response Activity Plan in Paragraph 7.4(b) on the

 following filters existing as of the Effective Date:

                       (i)    All filters Defendant has installed in homes with

 concentrations of PFOA + PFOS above 10 ppt in water coming into the home and

 prior to treatment unless and until new, applicable cleanup criteria become

 effective; and

                       (ii)   If new, applicable cleanup criteria become effective, all

 filters Defendant has installed in the Filter Areas with PFAS Compounds with

 concentrations above applicable cleanup criteria in water coming into the home and

 prior to treatment.

              (d)      Wolverine will cease operation and maintenance of any filters

 that are not required to be operated and maintained under this Consent Decree in

 accordance with Appendix L— Statement of Work for Operation and Maintenance

 and the Response Activity Plan in Paragraph 7.4(b).

              (e)      Defendant shall offer to install and maintain new filters for any

 residential drinking water well existing on the Effective Date in the Filter Areas if a

 drinking water well sample, including those samples collected pursuant to

 Paragraph 7.6, (i) contains concentrations of PFOA+ PFOS above 10 ppt until new

 applicable cleanup criteria become effective or (ii) if new applicable cleanup criteria

 become effective, contains PFAS Compounds at concentrations that exceed

 applicable criteria for PFAS Compounds.




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              (f)   If at any time in the future a home in the Filter Area where

 Defendant is operating and maintaining a filter is hooked up to a municipal water

 supply, Defendant may cease operation and maintenance on that home’s filter upon

 written notice to MDEQ and the homeowner.

              (g)   For any filter Defendant ceases to operate and maintain

 pursuant to a process set forth in this Consent Decree, Defendant shall be

 responsible for the proper removal of the filter system and spent granular activated

 carbon from the home unless the homeowner agrees in writing to keep the filter

 system.

       7.6    Residential Well Sampling.

       Defendant shall conduct residential drinking water well sampling in the

 Filter Areas as set out in Appendix M—Statement of Work for Residential Well

 Sampling and the Response Activity Plan in Paragraph 7.4(c) to assess the risk to

 public health that may exist from PFAS Compounds.

       7.7    Response Activities at the Tannery.

              (a)   All work performed by Defendant and approved by U.S. EPA

 under U.S. EPA Administrative Settlement Agreement and Order on Consent for

 Removal Actions under the Comprehensive Environmental Response,

 Compensation, and Liability Act (CERCLA), 42 U.S.C. § 9601 et seq., CERCLA

 Docket No. V-W-20-C-002, including excavation, sediment removal, and bank

 restoration work as set forth therein will also be considered Part 201 Response

 Activities under this Consent Decree.



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              (b)   Interceptor System

                    (i)     Within thirty (30) Days of the Effective Date, Defendant

 shall submit conceptual design summaries and schematics or engineering drawings

 for its currently planned interceptor system, which Defendant has designed as an

 interim Response Activity and has partially completed as of the Effective Date.

 Within one (1) year of the Effective Date Defendant shall submit a Response

 Activity Plan for the interceptor system (including any proposed modifications or

 expansion(s) of the currently installed interceptor system) to MDEQ for its review

 and approval. The system expansion shall be appropriately sized to address and

 control PFAS Compounds contamination in groundwater at the Tannery before it

 enters the Rogue River. The Response Activity Plan shall contain a schedule for

 any interceptor system modifications or expansion(s) and an appropriate

 groundwater monitoring plan to demonstrate the effectiveness of the interceptor

 system.

                    (ii)    Upon MDEQ’s approval, Defendant shall commence the

 installation and operation of the expansion according to the schedule approved by

 MDEQ.

                    (iii)   No later than two (2) years after the interceptor system

 installation (including any needed modifications or expansions as approved in

 Paragraph 7.7(b)(i)), Defendant shall demonstrate that the interceptor system is

 effective at addressing PFAS Compounds contamination and preventing PFAS

 Compounds from entering the surface water above water quality standards issued



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 under Part 31 or shall propose to MDEQ for its review and approval, further

 modifications to the system to prevent PFAS Compounds from entering the surface

 water above water quality standards issued under Part 31.

             (c)     Within sixty (60) Days after completion of the requirements of

 7.7(a) and 7.7(b), Defendant shall place permanent and enforceable land and

 resource use restrictions on the Tannery property in accordance with Mich. Comp.

 Laws § 324.20121.

       7.8   Response Activities at the House Street Disposal Site.

             (a)     Wolverine shall conduct a Feasibility Study of potential

 remedial options for the House Street Disposal Site.

                     (i)    The Feasibility Study shall be submitted to MDEQ for its

 review and approval within one (1) year from the Effective Date.

                     (ii)   The Feasibility Study shall evaluate the following remedy

 options to (1) manage solid wastes at the House Street Disposal Site and (2) reduce

 and control potential migration of PFAS Compounds from soils and sludges into the

 groundwater from the House Street disposal Site:

                            (A)   an approximately 30-acre surface cap without a

 bottom liner that complies with Part 201 and meets the applicable substantive

 requirements of Michigan’s Part 115;

                            (B)   an approximately 20-acre surface cap over an area

 in which materials are consolidated and placed above a liner with leachate




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 collection, as required, that comply with Part 201 and meet the applicable

 substantive requirements of Michigan’s Part 115; and

                            (C)   other alternatives that may include some

 combination of a smaller cap and groundwater interceptor, collection, or treatment

 systems that comply with Part 201 and meet the applicable substantive

 requirements of Michigan’s Part 115.

                    (iii)   The Feasibility Study shall set forth and evaluate the

 remedy options under Part 201. At a minimum, the Feasibility Study shall include

 the following information:

                            (A)   Definition of a remedial objective;

                            (B)   Analysis of each potential remedy option, including

 an analysis of:

                                  (1)    The performance, reliability, ease of

 implementation, and potential impacts of the potential remedy, including safety

 impacts, cross-media impacts, and control of exposure to any residual

 contamination;

                                  (2)    The time required to begin and complete

 implementation of the remedy;

                                  (3)    The costs of remedy implementation;

                                  (4)    The institutional requirements that may

 substantially affect implementation of the remedy; and




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                                  (5)    The remedy’s ability to reduce toxicity and

 the mobility of PFAS Compounds.

                           (C)    A proposed selected remedy based on the analysis.

              (b)    Subject to Section XVIII (Dispute Resolution for MDEQ and

 Defendant), if MDEQ does not approve of the proposed remedy in the Feasibility

 Study for the House Street Disposal Site, the final remedy shall be an

 approximately 30-acre surface cap without a bottom liner.

              (c)    Defendant shall submit a work plan for the final remedy to

 MDEQ for its review and approval for the installation of the remedy selected

 pursuant to this Paragraph 7.8 within one-hundred and eighty (180) Days of the

 remedy selection.

              (d)    Upon MDEQ’s approval of the work plan, Defendant shall

 install the selected remedy in accordance with the implementation schedules in the

 approved work plan and shall conduct monitoring in accordance with the approved

 work plan until MDEQ and Defendant agree that monitoring is no longer necessary.

              (e)    Defendant shall retain one or more consultants with specialized

 expertise in landfill design and construction to perform and to supervise any

 landfill-related work being performed under this Paragraph 7.8.

              (f)    Within sixty (60) Days after completion of the installation of the

 selected remedy, Defendant shall place permanent and enforceable land and

 resource use restrictions on the House Street Disposal Site property in accordance

 with Section 20121 of Part 201, Mich. Comp. Laws § 324.20121.



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       7.9    Groundwater Monitoring Obligations/Requirements.

              (a)   Perimeter Wells.

       In the Municipal Water Areas, Defendant shall install a perimeter well

 network in accordance with Appendix N— Statement of Work for Perimeter Well

 and the Response Activity Plan in Paragraph 7.4(a) to monitor the potential

 migration and threat posed by PFAS Compounds in groundwater to drinking water

 wells outside the Municipal Water Areas. If any two or more Municipal Water

 areas are contiguous, the perimeter well network may be installed on the

 boundaries of such contiguous area.

              (b)   Groundwater Investigation and Monitoring Wells.

                    (i)    In in Areas 5, 6, 11, and 12 (depicted in Appendix O—Map

 of Groundwater Investigation Areas 5, 6, 11, and 12) of the Filter Areas, Defendant

 will install and sample groundwater monitoring wells in accordance with Appendix

 P— Statement of Work for Filter Areas 5, 6, 11, and 12 Groundwater Monitoring

 and the Response Activity Plan in Paragraph 7.4(a) to do each of the following:

                           (A)   Define the vertical and horizontal extent of PFAS

 Compounds contamination as required by Part 201; and

                           (B)   confirm and monitor the location and stability of

 the PFAS Compounds plume(s) once the plume(s) are defined.

                    (ii)   In Area R-1 (19) (depicted in Appendix Q—Map of

 Groundwater Investigation Area R-1 (19)) of the Filter Areas, Defendant will install

 groundwater monitoring wells in accordance with Appendix R— Statement of Work



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 for R-1 (19) Groundwater Monitoring and the Response Activity Plan in Paragraph

 7.4(a). Defendant shall conduct one sampling event in accordance with Appendix

 R— Statement of Work for R-1 (19) Groundwater Monitoring and the Response

 Activity Plan in Paragraph 7.4(a) at each monitoring well it installs in Area R-1

 (19). Following the one (1) sampling event, Defendant shall have no further

 obligations for sampling, maintenance, or abandonment of that monitoring well.

 Once the vertical and horizontal extent of the PFAS Compounds contamination in

 Area R-1 (19) of the Filter Areas is defined, Defendant shall have no further

 obligation for groundwater investigations in Area R-1(19) of the Filter Areas.

 MDEQ may conduct future sampling events at the monitoring wells and will be

 responsible for maintaining and abandoning of the monitoring wells installed

 hereunder.

       7.10   Groundwater-Surface Water Interface (GSI) Investigation.

              (a)   Defendant shall conduct a study of the potential for

 groundwater contamination to discharge to surface water in accordance with

 Appendix S— Statement of Work for GSI Investigation and the Response Activity

 Plan in Paragraph 7.4(a) at the following three areas:

                    (i)     southeast of the House Street plume(s);

                    (ii)    from the Wolven/Jewell plume(s) and the House Street

 plume(s) to the northwest; and

                    (iii)   from the Wolven/Jewell plume(s) toward the Rogue River

 to the northeast and southeast.



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              (b)    Within ninety (90) Days of completing the work required by

 Paragraph 7.10(a), Defendant shall submit a work plan for the installation of

 needed permanent GSI wells to MDEQ for its review and approval. The work plan

 shall provide for the installation of GSI wells at up to forty (40) locations with 1-3

 wells per location with a cap of 80 wells total.

              (c)    Upon MDEQ’s approval for the permanent GSI well work plan

 submitted hereunder, the Defendant shall initiate the work outlined in the plan in

 accordance with the approved implementation schedule.

              (d)    Defendant shall conduct quarterly sampling at the installed GSI

 wells for one (1) year.

              (e)    Based on the information gathered from the work conducted

 under Paragraphs 7.10(b), 7.10(c), and 7.10(d), Defendant may submit a work plan

 to MDEQ that proposes to install interceptor systems or undertake other Response

 Activities to stop the venting of contaminated groundwater containing PFAS

 Compounds above applicable criteria into surface water no later than two (2) years

 after approval of the Completion Report submitted pursuant to Paragraphs

 7.12(a)(vii). Any work undertaken by Defendant under this Paragraph shall be

 conducted pursuant to a work plan reviewed and approved by MDEQ.

       7.11   Effect of Future Installation of Municipal Water in the Filter

 Areas.

       If at any time, municipal water is installed in Area 5, 6, 11, 12, or R-1 (19) of

 the Filter Areas, Defendant may notify MDEQ that municipal water has been



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 installed and fully operational in that area. Defendant’s obligations under

 Paragraphs 7.6 (Residential Well Sampling) and 7.9 (Groundwater Monitoring

 Obligations/Requirements) shall cease when municipal water has been installed in

 that area or an enforceable agreement has been entered into requiring the

 installation of municipal water in that area.

        7.12   Completion Reports.

               (a)       Defendant shall submit Completion Reports for MDEQ’s review

 and approval as follows

                         (i)    Filters. No later than the completion of the municipal

 water extensions required by Section VI (Municipal Water and Institutional

 Controls) of this Consent Decree a Completion Report that:

                                (A)   demonstrates that Defendant has met the

 conditions in Paragraph 7.5;

                                (B)   provides for the continued implementation of the

 Response Activity Plan for Operation and Maintenance submitted pursuant to

 Paragraph 7.4(b)

                                (C)   provides a proposed Financial Assurance

 Mechanism as set forth in Section VIII (Financial Assurance) for the long-term

 operation of filters.

                         (ii)   Residential Well Sampling. No later than five (5)

 years after the Effective Date, a Completion Report that:




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                            (A)   demonstrates that Defendant has conducted

 Response Activities as required by Paragraph 7.6;

                            (B)   provides for continued residential well sampling in

 accordance with Response Activity Plan for Residential Well Sampling submitted

 pursuant to Paragraph 7.4(c); and

                            (C)   provides a proposed Financial Assurance

 Mechanism as set forth in Section VIII (Financial Assurance) for the long-term

 residential well sampling obligations.

                    (iii)   Tannery. Within six (6) months of the completion of the

 demonstration of effectiveness of the interceptor system as required by Paragraph

 7.7(b)(i) at the Tannery, a Completion Report that:

                            (A)   demonstrates that Defendant has completed the

 Response Activities required by Paragraph 7.7;

                            (B)   provides for the continued operation and

 maintenance of the interceptor system;

                            (C)   provides for the continued implementation of the

 approved groundwater monitoring plan to demonstrate effectiveness of the

 interceptor system; and

                            (D)   provides a proposed Financial Assurance

 Mechanism as set forth in Section VIII (Financial Assurance) for the long-term

 Tannery Response Activities.




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                    (iv)   House Street Disposal Site. Within two (2) years of the

 completion of construction of the remedy selected and installed as required by

 Paragraph 7.8(e) at the House Street Disposal Site, a Completion Report that:

                           (A)   demonstrates that Defendant has completed the

 remedy required by Paragraph 7.8;

                           (B)   provides for operation and maintenance and

 monitoring to demonstrate the continued effectiveness and integrity of the

 constructed remedy required by Paragraph 7.8; and

                           (C)   provides a proposed Financial Assurance

 Mechanism as set forth in Section VIII (Financial Assurance) for the long-term

 House Street Disposal Site Response Activities.

                    (v)    Perimeter wells. Within two (2) years of the

 installation of the perimeter wells required by Paragraph 7.9(a), a Completion

 Report that:

                           (A)   demonstrates that Defendant has completed the

 installation of perimeter wells as required by Paragraph 7.9(a);

                           (B)   provides for the long-term maintenance and

 monitoring of the perimeter wells installed as required by Paragraph 7.9(a); and

                           (C)   provides a proposed Financial Assurance

 Mechanism as set forth in Section VIII (Financial Assurance) for the long-term

 Perimeter Well Response Activities.




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                    (vi)    Groundwater investigation in Areas 5, 6, 11, and 12.

 Within five (5) years of the Effective Date, a Completion Report that:

                            (A)   demonstrates that Defendant has completed the

 Response Activities required by Paragraph 7.9(b)(i);

                            (B)   provides for the long-term maintenance and

 monitoring of the groundwater investigation monitoring wells as required by

 Paragraph 7.9(b)(i);

                            (C)   provides a proposed Financial Assurance

 Mechanism as set forth in Section VIII (Financial Assurance) for the long-term

 Perimeter Well Response Activities.

                    (vii)   Groundwater investigation in Area R-1 (19). No

 later than five years following the Effective Date and upon completion of the

 Response Activities in Paragraph 7.9(b)(i), a Completion Report that demonstrates

 that Defendant has completed the Response Activities required by Paragraph

 7.9(b)(i).

                    (viii) GSI. Within one-hundred eighty (180) Days of

 Defendant’s completion of Response Activities for the groundwater surface water

 interface investigation and sampling in accordance with the MDEQ approved

 implementation plan and as required by Paragraph 7.10, a Completion Report that

 demonstrates that Defendant has completed the Response Activities required by

 Paragraph 7.10 and analyzes the data collected pursuant to Paragraph 7.10.




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              (b)    Each Completion Report shall include a summary of Response

 Activities undertaken in accordance with Defendant’s approved work plans and any

 supporting documentation and data, including, but not limited to, maps, figures,

 data tables, cross sections, as-builts, construction photographs, documentation that

 permanent marker(s), if required, have been installed, documentation that

 restrictive covenants are recorded or other permanent institutional controls have

 been enacted, and copies of draft proposed FAMs in accordance with Section VIII

 (Financial Assurance) as applicable.

              (c)    MDEQ’s approval of Completion Reports shall be conditioned

 upon MDEQ’s receipt of a fully-funded and established Financial Assurance

 Mechanism or Mechanisms in a form acceptable to MDEQ.

              7.13   Data Management and Sharing.

              (a)    The Defendant shall provide to the MDEQ Project Manager and

 the MDEQ’s consultant identified by MDEQ the following electronic data for all

 Response Activities on a monthly basis:

                     (i)    Electronic Data Deliverables (EDDs) for all laboratory

 analytical data; and

                     (ii)   PDF lab reports.

              (b)    EDDs and PDF lab reports shall include:

                     (i)    All residential drinking water well data;

                     (ii)   All whole house filter efficacy data; and




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                    (iii)   All investigation data including monitoring well samples,

 soil samples, surface water samples, sediment samples, and waste samples.

              (c)   EDDs must be submitted in the EQuIS 4 file format (or other

 format acceptable to Defendant and MDEQ) and must meet the specifications

 provided by Earthsoft.

                    (i)     Defendant must provide project specific valid values list

 to each submitting laboratory.

                    (ii)    Defendant or its contractor must use the Earthsoft EDP

 software (or other software acceptable to Defendant and MDEQ) to check the

 laboratory EDDs before submission, and the output error logs must be submitted

 with the associated EDD to MDEQ’s contractor.

              (d)   Electronic data submitted pursuant to this section and

 containing GIS data or database files shall be provided by Defendant to the MDEQ

 and MDEQ’s consultant for upload to EQuIS and MDEQ’s consultant’s GIS

 database. The data batches shall contain, at a minimum, coordinates or a system

 location code (Kent County Permanent Parcel Number), shapefiles, sampling area,

 and status attributes, such as residences within sampling areas connected to a

 public water supply or measured elevations and depths of remedial investigation

 samples.

              (e)   The requirements of Section XV (Submission and Approvals)

 does not apply to the data submitted pursuant to this section.




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       7.14   Modification of a Response Activity Work Plan.

              (a)    The Parties agree that the statements of work identified in

 Paragraph 7.4 shall be the basis of the Response Activity Plans to be submitted in

 accordance with Paragraph 7.4. Upon completion of the Response Activities in each

 Response Activity Plan, Defendant will evaluate the data gathered in consultation

 with MDEQ and determine appropriate next steps. The Parties further agree that

 (i) the number and location of wells, piezometers, and gauges, (ii) frequency of

 sampling, and (iii) operation and maintenance schedules set forth in the statements

 of work shall be included in the Response Activity Plans submitted pursuant to

 Paragraph 7.4. If the MDEQ reasonably determines that a modification to a

 Response Activity Plan is necessary to meet the requirements of this Consent

 Decree, the MDEQ may require that such modification be incorporated into a

 Response Activity Plan previously approved by the MDEQ under this Consent

 Decree, except that MDEQ may not require a modification to a portion of a

 Response Activity Plan that was contained in a statement of work attached to this

 Consent Decree. If extensive modifications are necessary, the MDEQ may require

 the Defendant develop and submit a new Response Activity Plan for the MDEQ’s

 review and approval.

              (b)    The Defendant may request that the MDEQ consider a

 modification to a Response Activity Plan by submitting such request for

 modification along with the proposed change in the Response Activity Plan and the

 justification for that change to the MDEQ for review and approval. Except as



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 provided in Section XII (Force Majeure) or as agreed by the Defendant and MDEQ,

 any such request for modification by the Defendant must be forwarded to the

 MDEQ at least thirty (30) Days prior to the date that the performance of any

 affected response activity is due.

              (c)    Any Response Activity Plan modifications or any new work

 plans shall be developed in accordance with the applicable requirements of this

 section and shall be submitted to the MDEQ for review and approval in accordance

 with the procedures set forth in Section XV (Submissions and Approvals).

              (d)    Upon receipt of the MDEQ’s approval, the Defendant shall

 perform the Response Activities specified in a modified Response Activity Plan or a

 new Response Activity Plan in accordance with the MDEQ-approved

 implementation schedules.

       7.15   Reporting.

              (a)    Unless otherwise provided in an applicable Response Activity

 Plan, within 30 days of the close of each of the first three calendar quarters of each

 year after the Effective Date, Defendant shall provide one or more quarterly

 progress reports to the MDEQ.

              (b)    The progress report shall contain sections that separately

 discuss the status of Response Activities conducted pursuant to Paragraphs 7.5, 7.6,

 7.7, 7.8, 7.9, and 7.10 of this Consent Decree.

              (c)    The progress report shall provide the following:




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                    (i)     Summary tables and figures of all results of sampling and

 tests and other data that relate to the Response Activities performed pursuant to

 this Consent Decree received by the Defendant, its employees, or authorized

 representatives during the months covered by the report and a list of associated

 laboratory report numbers.

                    (ii)    The status of any access issues that have arisen,

 including changes or delays in previously agreed upon schedules or work plans

 which affect or may affect the performance of Response Activities, and a description

 of how the Defendant proposes to resolve those issues and the schedule for resolving

 the issues.

                    (iii)   A schedule using a Gantt chart or other visual project

 tracking mechanism.

                    (iv)    A table summarizing outstanding deliverables, tasks,

 and/or problems. The table shall include at a minimum: (1) the name of the

 outstanding item; (2) the original schedule completion date; (3) the anticipated

 schedule completion date; (4) the reason for any completion date change; and (5) the

 project manager for the schedule item.

                    (v)     A description of the nature and amount of waste

 materials that were generated.

                    (vi)    A description of any data validation issues requiring

 corrective action, including but not limited to, QA/QC sample results or laboratory

 QA/QC results exceeding control limits, incomplete or irregular sampling or



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 laboratory records, issues with Method Reporting Limits, or holding time issues.

 Each progress report shall include a table of all field QA/QC sample results received

 with a comparison to control limits.

                     (vii)   For groundwater investigation Response Activities

 conducted pursuant to Paragraph 7.9–7.10:

                             (A)    Provide a description of all drilling activities

 performed the previous month and proposed drilling locations for the following

 month, including rationale and supporting data for the locations and depths.

                             (B)    Provide location maps for all sample results,

 groundwater elevation data and contour maps, boring logs, and cross sections.

                     (viii) Any other relevant information regarding other activities

 or matters that affect or may affect the implementation of the requirements of this

 Consent Decree.

              (d)    Information required to be provided by Defendant shall include

 sufficient detail regarding the progress and status of the investigation, evaluation,

 and implementation of Response Activities for MDEQ to inform the public.

              (e)    Unless otherwise provided in an applicable Response Activity

 Plan, Defendant shall provide MDEQ with a monthly filter report that addresses

 the status of filter performance monitoring under Paragraph 7.5 of this Consent

 Decree, including the following:

                     (i)     A summary by address of residential well and filter

 sampling and filter installation and operation and maintenance activities completed



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 the preceding quarter and updated data tables with analytical results for all

 drinking water wells and filter performance monitoring sample results.

                     (ii)    A summary by address of residential well and filter

 sampling and filter installation and operation and maintenance activities scheduled

 for the upcoming quarter.

                     (iii)   The addresses where a change in alternative water status

 has occurred.

                     (iv)    A summary of residential well and filter performance

 monitoring test results that exceed Part 201 criteria or filter plan trigger levels.

                     (v)     Copies of all letters to homeowners communicating whole

 house filter sampling results.

              (f)    Unless otherwise provided in an applicable Response Activity

 plan, by February 28 of each year following the Effective Date, Defendant shall

 provide (1) the fourth quarter quarterly progress report containing the information

 set forth in sections 7.15(b)–(c), and (2) one or more annual reports to MDEQ

 addressing each of the following:

                     (i)     Residential drinking water well sampling information for

 the previous calendar year, including the following

                             (A)   the actions Defendant has taken to achieve the

 Performance Objectives contained in Paragraph 7.1(b) of this Consent Decree;

                             (B)   a table of all the data collected at each residence;

                             (C)   maps of sampling locations;



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                             (D)   a list of those houses that have been provided new

 filters as required by Paragraph 7.4; and

                             (E)   an analysis or discussion of any trends or

 fluctuations from previous sampling events.

                     (ii)    The effectiveness of the interceptor system under

 Paragraph 7.7(b), demonstrating that the interceptor system is addressing PFAS

 Compounds contamination and preventing PFAS Compounds from entering the

 surface water above water quality standards issued under Part 31.

                     (iii)   The effectiveness of the remedy installed pursuant to

 Paragraph 7.8(d).

       7.16   Public Notice and Public Meeting Requirements under Section

 20120d of the NREPA.

              (a)    If MDEQ determines that there is significant public interest in a

 Response Activity Plan for which public notice, publication of proposed Response

 Activity Plans, public review and comment, or public meetings, or any combination

 thereof are required under Section 20120d of Part 201, Mich. Comp. Laws §

 324.20120d, MDEQ will take the required steps as set forth in Section 20120d of

 Part 201, Mich. Comp. Laws § 324.20120d. Those portions of any initial Response

 Activity Plan that were part of a statement of work attached as appendices to this

 Consent Decree, and that were already subject to the public notice and comment

 period for this Consent Decree, shall not be subject to change based on the public

 participation process set forth in this Paragraph.



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                (b)   Following the public review and comment period or a public

 meeting, the MDEQ may refer the Response Activity Plan back to the Defendant for

 revision to address public comments and the MDEQ’s comments.

                (c)   The MDEQ will prepare the final responsiveness summary

 document that explains the reasons for the selection or approval of a Response

 Activity Plan in accordance with the provisions of Sections 20120d(4) and (5) of Part

 201, Mich. Comp. Laws §§ 324.20120d(4) and (5).

                (d)   Upon the MDEQ’s request, the Defendant shall provide

 information to the MDEQ for the final responsiveness summary document or the

 Defendant shall prepare portions of the draft responsiveness summary document.

                (e)   At the request of MDEQ, Defendant or Defendant’s technical

 consultant shall be available for public meetings held pursuant to this Paragraph

 7.16.

         7.17   The State’s Performance of Response Activities.

         The State may conduct Response Activities under this Consent Decree as

 follows:

                (a)   If the Defendant ceases to perform the Response Activities

 required by this Consent Decree, is not performing Response Activities in

 accordance with this Consent Decree, or is performing Response Activities in a

 manner that causes or may cause an endangerment to human health or the

 environment, MDEQ may, at its option and upon providing thirty (30) Days prior




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 written notice to the Defendant, take over the performance of those Response

 Activities.

                     (i)     MDEQ is not required to provide thirty (30) Days written

 notice prior to performing Response Activities that MDEQ determines are necessary

 pursuant to Section XI (Emergency Response) of this Consent Decree.

                     (ii)    If MDEQ finds it necessary to take over the performance

 of Response Activities that the Defendant is obligated to perform under this

 Consent Decree, the Defendant shall reimburse the State for its costs to perform

 those Response Activities, including any accrued Interest. Interest, at the rate

 specified in Section 20126a(3) of Part 201, Mich. Comp. Laws § 324.20126a(3), shall

 begin to accrue on the State’s costs on the day the State incurs costs for those

 Response Activities.

               (b)   Costs incurred by the State to perform Response Activities

 pursuant to this paragraph shall be considered “Future Response Activity Costs” as

 defined in, and subject to the conditions and limitations set forth in, Paragraph 4.11

 of this Consent Decree, and the Defendant shall provide reimbursement of those

 costs and any accrued Interest to the State in accordance with Section XVI

 (Reimbursement of the State’s Costs) of this Consent Decree.


                            VIII. FINANCIAL ASSURANCE

        8.1    Defendant shall be responsible for providing and maintaining financial

 assurance for Long-Term Response Activity Costs in a mechanism or mechanisms




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 acceptable to MDEQ to assure the performance of the Response Activities required

 by this Consent Decree.

       8.2    Defendant shall propose a Financial Assurance Mechanism (FAM) to

 MDEQ for approval. Under Section 20101(u) of Part 201, Mich. Comp. Laws

 § 324.20101(u), and its implementing guidance, the FAM may be a performance

 bond, escrow, cash, certificate of deposit, irrevocable letter of credit, corporate

 guarantee, Financial Test, or other equivalent security (e.g., the use of treasury

 shares in an appropriate FAM approved by MDEQ). Defendant may propose to use

 a combination of instruments, including a combination of the Financial Test and

 other mechanisms, to meet its FAM requirements under this Consent Decree.

       8.3    The FAM shall remain in an amount sufficient to cover Long-Term

 Response Activity Costs required under this Consent Decree for a twenty-five (25)

 year period or other timeframe acceptable to MDEQ and sufficient to secure the

 Long-Term Response Activity Costs. The cost of the Response Activities covered by

 the Financial Assurance Mechanism shall be documented on the basis of an annual

 estimate of reasonable costs of the activities as if they were to be conducted by a

 person under contract to the MDEQ, not employees of the Defendant. Unless the

 use of the Financial Test or Financial Test/Corporate Guarantee is approved as an

 acceptable FAM by the MDEQ, the FAM shall remain in a form that allows MDEQ

 to immediately contract for the Response Activities for which financial assurance is

 required in the event Defendant fails to implement the required tasks.




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       8.4    Sixty (60) Days prior to the five (5)-year anniversary of the Effective

 Date of this Consent Decree and each subsequent five (5)-year anniversary,

 Defendant shall provide to MDEQ a report containing the actual Long-Term

 Response Activity Costs for the previous five (5)-year period and an estimate of the

 amount of funds necessary to assure Long-Term Response Activity Costs for the

 following twenty-five (25) year period given the financial trends in existence at the

 time of preparation of the report (Long-Term Response Activity Cost Report). The

 Long-Term Response Activity Cost Report shall also include all assumptions and

 calculations used in preparing the necessary cost estimate and shall be signed by an

 authorized representative of Defendant who shall confirm the validity of the data.

 Defendant may use a present worth analysis if an interest-accruing FAM is

 selected.

       8.5    Within sixty (60) Days after Defendant’s submittal of the Long-Term

 Response Activity Cost Report to MDEQ, Defendant shall capitalize or revise the

 FAM in a manner acceptable to MDEQ to address Long-Term Response Activity

 Costs consistent with the conclusions of the Long-Term Response Activity Cost

 Report unless otherwise notified by MDEQ. If MDEQ disagrees with the

 conclusions of the Long-Term Response Activity Cost Report, Defendant shall

 capitalize the FAM to a level acceptable to MDEQ within thirty (30) Days of MDEQ

 notification. If, at any time, MDEQ determines that the FAM does not secure

 sufficient funds to address Long-Term Response Activity Costs, Defendant shall




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 capitalize the FAM or provide an alternate FAM to secure any additional costs

 within thirty (30) Days of such a request by MDEQ.

       8.6    If, pursuant to the Long-Term Response Activity Cost Report,

 Defendant can demonstrate that the FAM provides funds in excess of those needed

 for Long-Term Response Activity Costs for the actions required under this Consent

 Decree, Defendant may request a modification in the amount. Any requested FAM

 modifications must be accompanied by a demonstration that the proposed FAM

 provides adequate funds to address future Long-Term Response Activities required

 under this Consent Decree. Upon MDEQ approval of the request, Defendant may

 modify the FAM as approved by the MDEQ. Modifications to the FAM pursuant to

 this Paragraph shall be approved by the MDEQ RRD Director or his or her

 authorized representative.

       8.7    If the use of the Financial Test is approved as an acceptable FAM,

 Defendant shall, within ninety (90) Days after the end of Defendant’s next fiscal

 year and the end of each succeeding fiscal year, submit to the MDEQ the necessary

 forms and supporting documents to demonstrate to the satisfaction of the MDEQ

 that Defendant can continue to meet the Financial Test requirements. If Defendant

 can no longer meet the financial test requirements, Defendant shall submit a

 proposal for an alternate FAM to satisfy its financial obligations under this Consent

 Decree.

       8.8    If the use of the Financial Test is approved as an acceptable FAM

 under this Consent Decree, the MDEQ, based on a reasonable belief that Defendant



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 may no longer meet the requirements for the Financial Test, may require reports of

 financial condition at any time from Defendant, and/or require Defendant to submit

 updated Financial Test information to determine whether it meets the Financial

 Test criteria. Defendant shall provide, with reasonable promptness to the MDEQ,

 any other data and information that may reasonably be expected to materially

 adversely affect the Defendant’s ability to meet the Financial Test requirements. If

 the MDEQ finds that Defendant no longer meets the Financial Test requirements,

 Defendant shall, within thirty (30) Days after notification from the MDEQ, submit a

 proposal for an alternate FAM to satisfy its financial obligations under this Consent

 Decree.

       8.9    If the use of the Financial Test/Corporate Guarantee is approved as an

 acceptable FAM under this Consent Decree, Defendant shall comply with the terms

 of the Corporate Guarantee. The Corporate Guarantee shall remain in place until

 Long-Term Response Activity Costs are no longer required under this Consent

 Decree or until the Defendant establishes an alternate FAM acceptable to the

 MDEQ.

       8.10   If Defendant wishes to change the type of FAM or establish a new

 FAM, Defendant shall submit a request to the MDEQ for approval. Upon MDEQ

 approval of the request, Defendant may change the type the FAM or establish the

 new FAM as approved by the MDEQ. Modifications to the FAM pursuant to this

 Paragraph shall be approved by the MDEQ RRD Director or his or her authorized

 representative.



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       8.11   If Defendant dissolves or otherwise ceases to conduct business and

 fails to make arrangements acceptable to the MDEQ for the continued

 implementation of all activities required by the Consent Decree, all rights under

 this Consent Decree regarding the FAM shall immediately and automatically vest

 in the MDEQ in accordance with the FAM.


                                    IX.     ACCESS

       9.1    Upon the Effective Date of this Consent Decree, the Defendant shall

 allow the MDEQ and its authorized employees, agents, representatives, contractors,

 and consultants to enter any properties covered by this Consent Decree at all

 reasonable times to the extent access to the properties are owned, controlled, or

 available to the Defendant. Upon presentation of proper credentials and upon

 making a reasonable effort to contact the person in charge of the property, MDEQ

 staff and its authorized employees, agents, representatives, contractors, and

 consultants shall be allowed to enter the property for the purpose of conducting any

 activity to which access is required for the implementation of this Consent Decree or

 to otherwise fulfill any responsibility under state or federal laws with respect to the

 property, including, but not limited to the following:

              (a)    Monitoring Response Activities or any other activities taking

 place pursuant to this Consent Decree at the property;

              (b)    Verifying any data or information submitted to the MDEQ;

              (c)    Assessing the need for, or planning, or conducting,

 investigations relating to the property;

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              (d)    Obtaining samples;

              (e)    Assessing the need for, or planning, or conducting, Response

 Activities at or near the property;

              (f)    Assessing compliance with requirements for the performance of

 monitoring, operation and maintenance, or other measures necessary to assure the

 effectiveness and integrity of the remedy;

              (g)    Inspecting and copying non-privileged records, operating logs,

 contracts, or other documents;

              (h)    Determining whether the property is being used in a manner

 that is or may need to be prohibited or restricted pursuant to this Consent Decree;

 and

              (i)    Assuring the protection of public health, safety, and welfare, and

 the environment.

       9.2    To the extent that a property where the Response Activities are to be

 performed by the Defendant under Section VII (Performance of Response Activities)

 of this Consent Decree, is owned or controlled by persons other than the Defendant,

 the Defendant shall use its best efforts as specified in this Paragraph to secure from

 such persons written access agreements or judicial orders providing access for

 Defendant, MDEQ, and their authorized employees, agents, representatives,

 contractors, and consultants. Defendant shall follow the process set forth below to

 obtain access as necessary to accomplish the purposes of this Consent Decree:




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              (a)   Defendant shall make a verbal or written request to the

 property owner or authorized person for access necessary to implement activities

 required under this Consent Decree and in accordance with a MDEQ approved work

 plan and implementation schedule and shall document the contact.

              (b)   If Defendant does not obtain access following the request for

 access in Paragraph 9.2(a), then Defendant shall offer reasonable compensation for

 access, to the extent not already offered, in a written communication by certified

 mail, with copy to MDEQ, no later than thirty (30) Days after the request under

 Paragraph 9.2(a) is communicated to the property owner from whom access is

 sought.

              (c)   If Defendant does not obtain access within thirty (30) days after

 completing, at a minimum, the actions required in subparagraphs 9.2(a) and 9.2(b),

 Defendant shall provide MDEQ copies of all written communications with the

 property owner or authorized representative not previously provided to MDEQ and

 shall request that MDEQ communicate with the property owner to discuss the

 State’s interests. MDEQ shall send a written communication to the property owner

 or authorized representative by certified mail setting forth the purpose and need for

 access and identifying the property owner’s responsibility to cooperate under

 applicable laws, with a copy to Defendant. The MDEQ’s written communication

 shall direct the property owner to respond to the Defendant and shall notify the

 property owner that the Defendant may bring a judicial action to obtain access if




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 the property owner refuses access or fails to respond to the Defendant within thirty

 (30) Days.

              (d)    Defendant may, prior to initiating judicial proceedings or at any

 other time when access is denied or a property owner is nonresponsive, submit

 modifications to Response Activity Plans previously approved by the MDEQ to

 provide alternative means of compliance with Response Activities required under

 Section VII (Performance of Response Activities) of this Consent Decree.

              (e)    The following process shall apply if Defendant does not obtain

 access after MDEQ sends the written request under subparagraph 9.2(c):

                     (i)     Within thirty (30) Days after (a) the date of Defendant’s

 receipt of a refusal of access after MDEQ sends the written communication under

 subparagraph 9.2(c); or (b) forty (40) Days have elapsed since MDEQ sent the

 written communication under subparagraph 9.2(c) and Defendant has received no

 response, Defendant shall initiate legal proceedings pursuant to Section 20135a of

 Part 201, Mich. Comp. Laws § 324.20135a.

                     (ii)    Defendant shall provide documentation to the MDEQ that

 such judicial action has been filed in a court of appropriate jurisdiction.

                     (iii)   If access sought under subparagraph 9.2(d) is granted,

 Defendant shall proceed with the Response Activities required under this

 Judgment;

                     (iv)    If the Court does not grant access to sufficiently

 implement the activities required under the Consent Judgment, the Project



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 Managers for Defendant and MDEQ shall evaluate alternative means of

 compliance, including but not limited to modifications to approved plans.

       9.3     Reasonable compensation shall be assessed based on information

 concerning, among other factors, (a) the amounts other property owners have

 accepted for such access; (b) information regarding the level of intrusiveness such

 access will require at the subject property; (c) the frequency of any such needed

 access; and (d) market information regarding the value of the property, the value of

 easements or other limited property rights, and the value of comparable access

 agreements.

       9.4     Defendant may, at any time, submit modifications to work plans

 previously approved by the MDEQ to provide alternative means of compliance with

 Response Activities required under Section VII (Performance of Response Activities)

 of the Consent Decree if access is denied or a property owner is nonresponsive.

       9.5     Any delay in obtaining access shall not be an excuse for delaying the

 performance of Response Activities, unless (a) the delay resulted from the

 Defendant diligently following the process outline in Paragraph 9.2 but other

 parties (including any court) delayed the provision of access; or (b) the delay was

 caused by a Force Majeure event pursuant to Section XII (Force Majeure).

       9.6     Any lease, purchase, contract, or other agreement entered into by the

 Defendant that transfers to another person a right of control over property that is

 the subject of this Consent Decree, shall contain a provision preserving for the

 MDEQ or any other person undertaking the Response Activities, and their



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 authorized representatives, the access provided under this section and Section XIII

 (Record Retention/Access to Information) of this Consent Decree.

       9.7       Any person granted access to a property pursuant to this Consent

 Decree shall comply with all applicable health and safety laws and regulations.


                           X.    SAMPLING AND ANALYSIS

       10.1      All sampling and analysis conducted pursuant to this Consent Decree

 shall be in accordance with the QAPP specified in Paragraph 7.2 and the

 MDEQ-approved Response Activity Plans, as each may be revised or amended from

 time to time.

       10.2      The Defendant, or its consultants or subcontractors, shall provide the

 MDEQ a seven (7) Day notice prior to any sampling activity to be conducted

 pursuant to this Consent Decree to allow the MDEQ Project Manager, or his or her

 authorized representative the opportunity to take split or duplicate samples for

 quality assurance and quality control or to observe the sampling procedures. In

 circumstances where a seven (7) Day notice is not possible, the Defendant, or its

 consultants or subcontractors, shall provide notice of the planned sampling activity

 as soon as possible to the MDEQ Project Manager and explain why earlier

 notification was not possible. If the MDEQ Project Manager concurs with the

 explanation provided, compliance with the seven (7) Day notification period may be

 waived for that particular sampling event. If the MDEQ Project Manager does not

 concur, Defendant shall schedule the sampling event at a time when the seven (7)

 Day notice can be provided.

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       10.3   The Defendant shall provide the MDEQ with the results of all

 environmental sampling, and other analytical data generated in the performance or

 monitoring of any requirement under this Consent Decree, Part 201, RCRA, or

 other relevant authorities, as set forth in paragraphs 7.13.

       10.4   For the purpose of quality assurance monitoring, the Defendant shall

 assure that the MDEQ and its authorized representatives are allowed access to any

 laboratory used by the Defendant in implementing this Consent Decree.


                         XI.    EMERGENCY RESPONSE

       11.1   If during the course of the Defendant performing Response Activities

 pursuant to this Consent Decree, an act or the occurrence of an event by or on

 behalf of Defendant causes a release or threat of release of a hazardous substance in

 the North Kent Study Area, and the release or threat of release, poses or threatens

 to pose an imminent and substantial endangerment to public health, safety, or

 welfare, or the environment, the Defendant shall immediately undertake all

 appropriate actions to prevent, abate, or minimize such release or threat of release,

 and shall immediately notify the MDEQ Project Manager. In the event of the

 MDEQ Project Manager’s or their designees’ unavailability, the Defendant shall

 notify the Pollution Emergency Alerting System (PEAS) at 1-800-292-4706. In such

 an event, any actions taken by the Defendant shall be in accordance with all

 applicable health and safety laws and regulations.

       11.2   Within ten (10) Days of notifying the MDEQ of such an act or event,

 the Defendant shall submit a written report setting forth a description of the act or

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 event that occurred and the measures taken or to be taken to mitigate any release

 or threat of release, caused or threatened by the act or event and to prevent

 recurrence of such an act or event.

        11.3      Regardless of whether the Defendant notifies the MDEQ under this

 section, if an act or the occurrence of an event by or on behalf of Defendant causes a

 release or threat of release of a hazardous substance in the North Kent Study Area

 the MDEQ may:

                  (a)   require the Defendant to stop Response Activities for such

 period of time as may be needed to prevent or abate any such release or threat of

 release;

                  (b)   require the Defendant to undertake any actions that the MDEQ

 reasonably determines are necessary to prevent or abate any such release or threat

 of release; or

                  (c)   undertake any actions that the MDEQ reasonably determines

 are necessary to prevent or abate such release or threat of release.

        11.4      This section is not subject to the dispute resolution procedures set

 forth in Section XVIII (Dispute Resolution for MDEQ and Defendant) of this

 Consent Decree.


                                 XII.   FORCE MAJEURE

        12.1      The Defendant shall perform the requirements of this Consent Decree

 within the time limits established herein, unless such time limits are otherwise

 modified by agreement with MDEQ or unless performance is prevented or delayed

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 by events that constitute a “Force Majeure.” Any delay in the performance

 attributable to a Force Majeure shall not be deemed a violation of this Consent

 Decree in accordance with this section.

       12.2   For the purposes of this Consent Decree, a “Force Majeure” event is

 defined as any event arising from causes beyond the control of and without the fault

 of the Defendant, any person controlled by the Defendant, or the Defendant’s

 contractors, that delays or prevents the performance of any obligation under this

 Consent Decree despite the Defendant’s “best efforts to fulfill the obligation.” The

 requirement that the Defendant exercises “best efforts to fulfill the obligation”

 includes the Defendant using best efforts to anticipate any potential Force Majeure

 event and to address the effects of any potential Force Majeure event during and

 after the occurrence of the event, such that the Defendant minimizes any delays in

 the performance of any obligation under this Consent Decree to the extent possible.

 Force Majeure includes an occurrence or nonoccurrence arising from causes beyond

 the control of and without the fault of the Defendant, such as an act of God,

 untimely review of permit applications or submission by the MDEQ or other

 applicable authority, and acts or omissions of third parties that could not have been

 avoided or overcome by diligence of the Defendant and that delay the performance

 of an obligation under this Consent Decree. Force Majeure does not include, among

 other things, unanticipated or increased costs, changed financial circumstances, or

 failure to obtain a permit or license as a result of actions or omissions of the

 Defendant.



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       12.3    The Defendant shall notify the MDEQ Project Manager by telephone or

 email within seventy-two (72) hours of discovering any event that causes a delay or

 prevents performance with any provision of this Consent Decree. Verbal notice

 shall be followed by written notice within ten (10) Days and shall describe, in detail,

 the anticipated length of delay for each specific obligation that will be impacted by

 the delay, the cause or causes of delay, the measures taken by the Defendant to

 prevent or minimize the delay, and the timetable by which those measures shall be

 implemented. The Defendant shall use its best efforts to avoid or minimize any

 such delay.

       12.4    Failure of the Defendant to comply with the notice requirements of

 Paragraph 12.3, above, shall render this Section XII void and of no force and effect

 as to the particular incident involved. The State may, in appropriate

 circumstances, waive the notice requirements of Paragraph 12.3 of this Consent

 Decree.

       12.5    If the parties agree that the delay or anticipated delay was beyond the

 control of the Defendant, this may be so stipulated and the parties to this Consent

 Decree may agree upon an appropriate modification of this Consent Decree. If the

 parties to this Consent Decree are unable to reach such agreement, the dispute

 shall be resolved in accordance with Section XVIII (Dispute Resolution for MDEQ

 and Defendant) of this Consent Decree. The burden of proving that any delay was

 beyond the control of the Defendant, and that all the requirements of this section

 have been met by the Defendant, is on the Defendant.



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       12.6   An extension of one compliance date based upon a particular incident

 does not necessarily mean that the Defendant qualifies for an extension of a

 subsequent compliance date without providing proof regarding each incremental

 step or other requirement for which an extension is sought.


           XIII. RECORD RETENTION/ACCESS TO INFORMATION

       13.1   The Defendant shall preserve and retain, for a period of ten (10) years

 after completion of operation and maintenance and long-term monitoring required

 under this Consent Decree, all historical records, sampling and other analytical

 data, test results, charts, and other documents relating to the release or threatened

 release of PFAS Compounds, and the storage, generation, disposal, treatment, and

 handling of hazardous substances; and any other records that are maintained or

 generated pursuant to any requirement of this Consent Decree, including records

 that are maintained or generated by representatives, consultants, or contractors of

 the Defendant.

       13.2   Defendant shall notify MDEQ ninety (90) days prior to the destruction

 of any documents covered by this paragraph. Defendant’s notice shall be

 accompanied by a copy of this Consent Decree and sent to the address listed in

 Section XIV (Project Managers and Communications/Notices) or to such other

 address as may subsequently be designated in writing by the MDEQ Documents

 covered by this Section XIII may be retained in electronic form. Nothing contained

 in this Consent Decree shall require Defendant to maintain paper records.




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       13.3   Upon request, the Defendant shall provide to the MDEQ copies of all

 non-privileged documents and information within its possession, or within the

 possession or control of its employees, contractors, agents, or representatives,

 relating to the performance of Response Activities or other requirements of this

 Consent Decree, including, but not limited to, records regarding the collection and

 analysis of samples, field notes, chain of custody records, manifests, trucking logs,

 receipts, reports, sample traffic routing forms, or other correspondence, documents,

 or information related to Response Activities. Upon request, and subject to

 attorney-client privilege and individual Constitutional rights, the Defendant shall

 also make available to the MDEQ, upon reasonable notice, the Defendant’s

 employees, contractors, agents, or representatives with knowledge of relevant facts

 concerning the performance of Response Activities.

       13.4   If the Defendant submits documents or information to the MDEQ that

 the Defendant believes are entitled to protection as provided for in Section

 20117(10) of Part 201, Mich. Comp. Laws § 324.20117(10), the Defendant may

 designate in that submission the documents or information which it believes are

 entitled to such protection. If no such designation accompanies the information

 when it is submitted to the MDEQ, the MDEQ may provide the information to the

 public without further notice to the Defendant. Information described in Section

 20117(11)(a)–(h) of Part 201, Mich. Comp. Laws §§ 324.20117(11)(a)–(h), shall not

 be claimed as confidential or privileged by the Defendant. Information or data

 generated under this Consent Decree shall not be subject to Part 148,



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 Environmental Audit Privilege and Immunity, of the NREPA, Mich. Comp. Laws §

 324.14801 et seq.


      XIV. PROJECT MANAGERS AND COMMUNICATIONS/NOTICES

       14.1   Each Party shall designate one or more Project Managers. Whenever

 notices, progress reports, information on the collection and analysis of samples,

 sampling data, Response Activity Plan submissions, approvals, or disapprovals, or

 other technical submissions are required to be forwarded by one Party to the other

 Party under this Consent Decree, or whenever other communications between the

 Parties is needed, such communications shall be directed to the designated Project

 Manager at the address listed below.

       14.2   The Parties have designated the following as their Project Managers:

              (a)    As to the MDEQ:

              Karen Vorce, Project Manager
              Grand Rapids District Office
              Remediation and Redevelopment Division
              Michigan Department of Environment, Great Lakes, and Energy
              350 Ottawa Avenue NW, Unit 10
              Grand Rapids, MI 49503
              Phone: (616) 439-8008
              Fax: (616) 356-0202
              vorcek@michigan.gov

              (b)    As to the MDAG:

              Assistant in Charge
              Michigan Department of Attorney General
              Environment, Natural Resources, and Agriculture Division
              P.O. Box 30755
              Lansing, MI 48909
              Phone: (517) 335-7664
              Fax: (517) 335-7636


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              (c)    As to the Defendant:

              David Latchana
              Associate General Counsel
              Wolverine World Wide, Inc.
              9341 Courtland Drive NE
              Rockford, MI 49351
              Phone: (616) 863-4226
              david.latchana@wwwinc.com

              with a copy to:

              John V. Byl
              Warner Norcross + Judd LLP
              1500 Warner Building
              150 Ottawa Avenue NW
              Grand Rapids, MI 49503
              Phone: (616) 752-2149
              jbyl@wnj.com

              (d)    As to the Intervening Townships:

              Cameron Van Wygarden, Superintendent
              Plainfield Charter Township
              6161 Belmont Avenue NE
              Belmont, MI 49306

              with a copy to:

              Douglas Van Essen
              Silver & Van Essen
              300 Ottawa Avenue NW, Suite 620
              Grand Rapids, MI 49503
              (616) 988-5600

       14.3   If any Party changes its designated Project Manager, the name,

 address, and telephone number of the successor shall be provided to the other

 Parties, in writing, as soon as practicable.




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       14.4   The Defendant’s Project Manager shall have primary responsibility for

 overseeing the performance of the response activity requirements specified in this

 Consent Decree for the Defendant.

       14.5   The Intervening Townships’ Project Manager shall have primary

 responsibility for overseeing the Extension of Municipal Water and the obligations

 specified in Section VI (Municipal Water and Institutional Controls) of this Consent

 Decree.

       14.6   The MDEQ may designate other authorized representatives,

 employees, contractors, and consultants to observe and monitor the progress of any

 activity undertaken pursuant to this Consent Decree.


                     XV.   SUBMISSIONS AND APPROVALS

       15.1   Except as otherwise provided in Paragraph 7.11 of this Consent

 Decree, all Submissions required by this Consent Decree shall comply with all

 applicable laws and regulations and the requirements of this Consent Decree and

 shall be delivered to the MDEQ in accordance with the timeframes set forth in this

 Consent Decree.

       15.2   All Submissions delivered to the MDEQ pursuant to this Consent

 Decree shall include a reference to the Wolverine World Wide, Inc. Consent Decree

 and the Court Case No. 1:18-cv-00039.

       15.3   All Submissions delivered to MDEQ for approval shall also be marked

 “Draft” and shall include, in a prominent location in the document, the following

 disclaimer: “Disclaimer: This document is a DRAFT document that has not received

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 approval from the Michigan Department of Environment, Great Lakes, and Energy

 (EGLE). This document was prepared pursuant to a court Consent Decree. The

 opinions, findings, and conclusions expressed are those of the authors and not those

 of EGLE”.

       15.4   Except as set forth in paragraph 7.12, Submissions shall be delivered

 to MDEQ electronically as a searchable pdf file unless otherwise requested by the

 MDEQ.

       15.5   All Submissions shall be accompanied by a cover page that contains

 the (1) date of the Submission; (2) the name of the Submission; and (3) the section

 and paragraph of this Consent Decree for which the Submission is being provided.

       15.6   Response Activity Plans required or submitted under this Consent

 Decree are not subject to the provisions of Section 20114b of Part 201, Mich. Comp.

 Laws § 324.20114b, and therefore a review request form is not required, and

 MDEQ’s review of Response Activity Plans is not subject to the time frames

 specified in Section 20114b.

       15.7   After receipt of any Submission relating to Response Activities that is

 required to be submitted for approval pursuant to this Consent Decree, the MDEQ

 District Supervisor will in writing: (1) approve the Submission; (2) approve the

 Submission with conditions; or (3) disapprove the Submission and notify the

 Defendant of the deficiencies in the Submission. Wherever approval or acceptance

 of any Submission by MDEQ is required in this Consent Decree, such approval or

 acceptance shall not be unreasonably withheld. Upon receipt of a notice of approval



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 or approval with conditions from the MDEQ the Defendant shall proceed to take the

 actions and perform the Response Activities required by the Submission, as

 approved or as conditioned, and shall submit a new complete Submission containing

 a cover page marked “Approved.”

       15.8   Upon receipt of a notice of disapproval from the MDEQ pursuant to

 Paragraph 15.7(3), the Defendant shall correct the deficiencies and provide the

 revised Submission to the MDEQ for review and approval within thirty (30) Days,

 unless the notice of disapproval specifies a longer time period for resubmission or

 unless MDEQ and the Defendant otherwise agree in writing on a different

 timeframe for submission. Unless otherwise stated in the MDEQ’s notice of

 disapproval, the Defendant shall proceed to take the actions and perform the

 Response Activities not directly related to the deficient portion of the Submission.

 Any stipulated penalties applicable to the delivery of the Submission shall accrue

 during the thirty (30)-Day period or other time period specified for the Defendant to

 provide the revised Submission, but shall not be assessed unless the resubmission is

 also disapproved and the MDEQ demands payment of stipulated penalties pursuant

 to Section XVII (Stipulated Penalties). MDEQ may at its discretion provide an

 opportunity-to-cure period under Paragraph 17.4 for a revised Submission. The

 MDEQ will review the revised Submission in accordance with the procedure set

 forth in Paragraph 15.7. If the MDEQ disapproves a revised Submission, the

 MDEQ will so advise the Defendant, and as set forth above, subject to an

 opportunity-to-cure under Paragraph 17.4, stipulated penalties shall accrue from



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 the date of the MDEQ’s disapproval of the original Submission and continue to

 accrue until the Defendant delivers an approvable Submission.

       15.9   An approval or approval with conditions of a Submission shall not be

 construed to mean that the MDEQ concurs with any of the conclusions, methods, or

 statements in any Submission or warrants that the Submission comports with law.

       15.10 Informal advice, guidance, suggestions, or comments by the MDEQ

 regarding any Submission provided by the Defendant shall not be construed as

 relieving the Defendant of its obligation to obtain any formal approval required

 under this Consent Decree.


              XVI. REIMBURSEMENT OF THE STATE’S COSTS

       16.1   In consideration for the obligations Defendant is taking under this

 Consent Decree, costs incurred by the State through the Effective Date are deemed

 resolved.

       16.2   Defendant shall reimburse the State as follows for Future Response

 Activity Costs incurred by the State.

              (a)   Except as set forth in Paragraph (b) below, Defendant shall pay

 $1.5 million to cover all the State’s Future Response Activity Costs from the

 Effective Date through the ten (10) year anniversary of the Effective Date of this

 Consent Decree. Defendant shall place a fixed amount of $1.5 million into an

 interest-bearing account or interest-bearing instrument that is approved by MDEQ

 and that has the most favorable interest rate available to Defendant from its

 primary financial institution, within sixty (60) Days of the Effective Date. To help

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 secure the most favorable interest rate available, MDEQ agrees not to draw on the

 account or instrument for at least three (3) years after the Effective Date. MDEQ

 shall be the sole beneficiary of the proceeds of the account or instrument.

              (b)    In addition to the amount set forth in Paragraph (a) above,

 Defendant shall be responsible for all Future Response Activity Costs MDEQ incurs

 under Paragraph XVIII (Dispute Resolution for MDEQ and Defendant) and any

 Response Activity Costs MDEQ incurs to enforce this Consent Decree, but only to

 the extent such Future Response Activity Costs (other than attorney fees for outside

 counsel) are incurred between the Effective Date and the five (5) year anniversary

 of the Effective Date of this Consent Decree.

              (c)    Following the ten (10) year anniversary of the Effective Date of

 this Consent Decree, Defendant shall only reimburse the State’s “hard costs” that

 are Future Response Activity Costs. “Hard costs” for purposes of this paragraph

 include sampling costs, laboratory costs, contractor costs, and other similar out-of-

 pocket costs invoiced to MDEQ. “Hard costs” do not include staff time incurred for

 MDEQ oversight or similar costs. MDEQ will periodically provide Defendant with

 an invoice for Future Response Activity Costs payable under this Paragraph (c). An

 invoice will include a summary report (Summary Report) that identifies all “hard

 costs” that are Future Response Activity Costs the State has incurred, the nature of

 those costs, and the dates through which those costs were incurred by the State.

 Except as provided by Section XVIII (Dispute Resolution for the MDEQ and

 Defendant) of this Consent Decree, Defendant shall reimburse the State for such



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 “hard costs” that are Future Response Activity Costs within sixty (60) Days of

 Defendant’s receipt of an invoice from the State.

       16.3   Defendant shall have the right to request a full and complete

 accounting of all the State invoices made hereunder, including travel vouchers,

 contracts, invoices, and payment vouchers as may be available to the State.

       16.4   All payments made pursuant to this Consent Decree shall be by

 certified check, made payable to the “State of Michigan—Environmental Response

 Fund,” and shall be sent to:

              By first class mail:

              Michigan Department of Environment, Great Lakes, and Energy
              Cashier’s Office
              P.O. Box 30657
              Lansing, MI 48909-8157

              Via courier:

              MDOT Accounting Services Division
              Cashier’s Office for EGLE
              Van Wagoner Building, 1st Floor West
              425 West Ottawa Street
              Lansing, MI 48933


       16.5   The Wolverine World Wide, Inc. Consent Decree, the Court Case No.

 1:18-cv-00039, and the RRD50103 shall be designated on each check. A copy of the

 transmittal letter and the check shall be provided simultaneously to the MDEQ

 Project Manager at the address listed in Paragraph 14.2(a), and the Assistant in

 Charge at the address listed in Paragraph 14.2(b).




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       16.6   Costs recovered pursuant to this section and payment of stipulated

 penalties pursuant to Section XVII (Stipulated Penalties) of this Consent Decree

 shall be deposited into the Environmental Response Fund in accordance with the

 provisions of Section 20108(3) of Part 201, Mich. Comp. Laws § 324.20108(3).

       16.7   If the Defendant fails to make full payment to the State for Future

 Response Activity Costs as specified in Paragraphs 16.2(b) and (c) of this Consent

 Decree, Interest, at the rate specified in Section 20126a(3) of Part 201, Mich. Comp.

 Laws § 324.20126a(3), shall begin to accrue on the unpaid balance on the day after

 payment was due until the date upon which the Defendant makes full payment of

 those costs and the accrued Interest to the State, unless the State waives such

 interest or unless it is determined in Dispute Resolution that Defendant had a good

 faith, even if incorrect, basis for objecting to such costs. In any challenge by the

 Defendant to a State demand for reimbursement of costs, the Defendant shall have

 the burden of establishing that the State did not lawfully incur those costs in

 accordance with Section 20126a(1)(a) of Part 201, Mich. Comp. Laws §

 324.20126a(1)(a) or other applicable statutes.




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                         XVII. STIPULATED PENALTIES

       17.1    Defendant shall be responsible for stipulated penalties in the amounts

 set forth in Paragraphs 17.2 and 17.3 of this Consent Decree, for failure to comply

 with the requirements of this Consent Decree, unless excused under Section XII

 (Force Majeure) of this Consent Decree or unless waived by MDEQ. “Failure to

 Comply” by Defendant shall include failure to complete Submissions and

 notifications as required by this Consent Decree and failure to perform Response

 Activities in accordance with MDEQ-approved plans, this Consent Decree, and all

 applicable requirements of law, within the specified implementation schedules

 established by or approved under this Consent Decree.

       17.2    The following stipulated penalties shall accrue per day for any

 violation of Section VII (Performance of Response Activities) of this Consent

 Decree:

       Penalty Per Violation Per Day            Period of Noncompliance

       $250                                     1st through 15th day

       $750                                     16th through 30th day

       $1500                                    30th day and beyond

       17.3    Except as provided in Paragraph 17.2, Section XII (Force Majeure) and

 Section XVIII (Dispute Resolution for MDEQ and Defendant) of this Consent

 Decree, if Defendant fails or refuses to comply with any other term or condition of

 this Consent Decree, Defendant shall pay MDEQ stipulated penalties of $250

 Dollars (two hundred fifty) a day for each and every failure or refusal to comply.

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       17.3   All penalties shall begin to accrue on the day after performance of an

 activity was due or the day a violation has occurred, unless MDEQ has provided

 Defendant with an opportunity to cure (including an opportunity to correct

 deficiencies under Paragraph 15.8) within a reasonable time in which case penalties

 shall begin to accrue on the day after the cure period expires and shall continue to

 accrue through the final day of completion of performance of the activity or

 correction of the violation. Nothing herein shall prevent the simultaneous accrual

 of separate penalties for separate violations of this Consent Decree.

       17.4   Except as provided in Section XVIII (Dispute Resolution for MDEQ

 and Defendant) of this Consent Decree, Defendant shall pay stipulated penalties

 owed to the State no later than sixty (60) Days after Defendant’s receipt of a written

 demand from the State. Payment shall be made in the manner set forth in

 Paragraph 16.4 of Section XVI (Reimbursement of the State’s Costs) of this Consent

 Decree. Interest, at the rate provided for in Section 20126a(3) of the Part 201,

 Mich. Comp. Laws § 324.20126a(3), shall begin to accrue on the unpaid balance at

 the end of the thirty (30) Day period on the day after payment was due until the

 date upon which the Defendant makes full payment of those stipulated penalties

 and the accrued Interest to the State.

       17.5   The payment of stipulated penalties shall not alter in any way

 Defendant’s obligation to perform the Response Activities required by this Consent

 Decree.




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       17.6   If Defendant fails to pay stipulated penalties when due, the State may

 institute proceedings to collect the penalties.

       17.7   The assessment of stipulated penalties is not the State’s exclusive

 remedy if Defendant violates this Consent Decree. For any failure or refusal of

 Defendant to comply with the requirements of this Consent Decree, the State also

 reserves the right to pursue any other remedies to which it is entitled under this

 Consent Decree or any applicable law including, but not limited to, seeking civil

 fines, injunctive relief, and the specific performance of Response Activities and

 reimbursement of costs and exemplary damages pursuant to Section 20119(4) of

 Part 201, Mich. Comp. Laws § 324.20119(4) in the amount of three (3) times the

 costs incurred by the State as a result of the Defendant’s violation of or failure to

 comply with the Consent Decree, and sanctions for contempt of court.

       17.8   Notwithstanding any other provision of this Section, the State may

 waive, in its unreviewable discretion, any portion of stipulated penalties and

 Interest that has accrued pursuant to this Consent Decree.


     XVIII.        DISPUTE RESOLUTION FOR MDEQ AND DEFENDANT

       18.1   Unless otherwise expressly provided for in this Consent Decree, the

 dispute resolution procedures of this Section shall be the exclusive mechanism to

 resolve disputes between MDEQ and Defendant arising under or with respect to

 this Consent Decree, including review and approval of a Response Activity Plan and

 other Submissions, except for Section XI (Emergency Response) of this Consent

 Decree, which is not disputable.

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       18.2   The procedures set forth in this Section shall not apply to actions by

 the MDEQ to enforce any of Defendant’s obligations that have not been disputed in

 accordance with this Section.

       18.3   Engagement of dispute resolution pursuant to this Section shall not be

 cause for Defendant to delay the performance of any response activity required

 under this Consent Decree.

       18.4   MDEQ shall maintain an administrative record of any disputes

 initiated pursuant to this Section. The administrative record shall include the

 information Defendant provides to MDEQ under Paragraphs 18.5 through 18.7 of

 this Consent Decree, and any documents MDEQ relies on to make the decisions set

 forth in Paragraphs 18.5 through 18.8 of this Consent Decree.

       18.5   Except for undisputable matters identified in Paragraph 18.1 of this

 Consent Decree, any dispute that arises under this Consent Decree with respect to

 MDEQ’s disapproval, conditional approval, or other decision concerning

 requirements of this Consent Decree shall, in the first instance, be the subject of

 informal negotiations between the Project Managers representing MDEQ and

 Defendant.

              (a)    A dispute shall be considered to have arisen on the date that

 the MDEQ or Defendant receives a written Notice of Dispute from the other Party.

              (b)    The Notice of Dispute shall state the issues in dispute; the

 relevant facts upon which the dispute is based; factual data, analysis, or opinion




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 supporting the Party’s position; and supporting documentation upon which the

 Party bases its position.

                (c)   In the event Defendant objects to any MDEQ notice of

 disapproval, conditional approval, or decision concerning the requirements of this

 Consent Decree that is subject to dispute under this Section, Defendant shall

 submit the Notice of Dispute within ten (10) Days of receipt of MDEQ’s notice of

 disapproval, conditional approval, or decision.

                (d)   The period of informal negotiations shall not exceed twenty (20)

 Days from the date a Party receives a Notice of Dispute, unless the time period for

 negotiations is modified by written agreement between MDEQ and the Defendant.

                (e)   If MDEQ and the Defendant do not reach an agreement within

 twenty (20) Days or within the agreed-upon time period and the dispute involves

 MDEQ’s decision relating to a technical work plan submitted pursuant to this

 Consent Decree, the technical or scientific dispute shall be submitted to mediation

 as set forth in Paragraph 18.6. For all other disputes, if MDEQ and the Defendant

 do not reach an agreement within twenty (20) Days or within the agreed-upon time

 period, the dispute shall proceed under the process set forth in Paragraph 18.7.

         18.6   In the case of disputes arising from MDEQ’s decision relating to a

 technical work plan submitted pursuant to this Consent Decree, the dispute shall be

 referred to a mediator with expertise relevant to the technical aspects of the

 Response Activities required under this Consent Decree within five (5) Working

 Days.



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              (a)      MDEQ and Wolverine shall seek to agree on a person to serve as

 such mediator. Such person shall have expertise in environmental remediation, but

 shall not be employed, contracted with, or otherwise affiliated with either MDEQ or

 Wolverine. If MDEQ and Wolverine cannot agree on a mediator within thirty (30)

 Days of the Effective Date, each will submit up to three candidates, with their

 respective resumes and qualifications, to the Court and the Court will select a

 mediator. Upon notice from the selected mediator that he or she is no longer willing

 or able to serve as mediator, MDEQ and Wolverine will seek to agree on a

 replacement mediator. If MDEQ and Wolverine cannot agree on a replacement

 mediator, each will submit up to three candidates, with their respective resumes

 and qualifications, to the Court and the Court will select a replacement mediator.

              (b)      The period for mediation shall not exceed ten (10) Days from the

 date the dispute was referred to a mediator, unless the time period for mediation is

 modified by written agreement between the MDEQ and Defendant.

              (c)      The mediator shall meet with the MDEQ and Defendant within

 ten (10) Days of the dispute being referred unless another timeframe is agreed to in

 writing by the MDEQ and Defendant.

              (d)      Defendant shall be responsible for the costs of the mediation

 under this Section.

              (e)      Only statements made by the mediator to both MDEQ and the

 Defendant at the conclusion of mediation shall be included in the administrative

 record under Paragraph 18.4. All other documents and communications flowing



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 from the mediation shall not be included in the administrative record under

 Paragraph 18.4 unless MDEQ and the Defendant otherwise agree.

              (f)   If the MDEQ and the Defendant are unable to resolve the

 dispute within fifteen (15) Days of the dispute being referred to the mediator or

 another timeframe as agreed upon in writing by the MDEQ and the Defendant,

 within seven (7) Days after the close of mediation the RRD District Supervisor will

 provide the MDEQ’s Statement of Position, in writing, to the Defendant.

              (g)    In the absence of initiation of formal dispute resolution by

 Defendant under Paragraph 18.7 of this Consent Decree, MDEQ’s position as set

 forth in MDEQ’s Statement of Positions shall be binding on MDEQ and the

 Defendant.

       18.7   If MDEQ and the Defendant cannot informally resolve a dispute under

 Paragraph 18.5 and 18.6 of this Consent Decree, the Defendant may initiate formal

 dispute resolution by submitting a written Request for Review to the RRD Director,

 with a copy to the MDEQ Project Manager, requesting a review of the disputed

 issues.

              (a)   This Request for Review must be submitted within ten (10) Days

 of the Defendant’s receipt of the Statement of Position issued by the MDEQ

 pursuant to Paragraph 18.6(f) of this Consent Decree.

              (b)   The Request for Review shall state the issues in dispute; the

 relevant facts upon which the dispute is based; factual data, analysis, or opinion




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 supporting the Party’s position; and supporting documentation upon which the

 Party bases its position.

              (c)    Within twenty (20) Days of the RRD Director’s receipt of the

 Defendant’s Request for Review, the RRD Director will provide the MDEQ’s

 Statement of Decision, in writing, to the Defendant, which will include a statement

 of his/her understanding of the issues in dispute; the relevant facts upon which the

 dispute is based; factual data, analysis, or opinion supporting his/her position; and

 supporting documentation he/she relied upon in making the decision.

              (d)    The time period for the RRD Director’s review of the Request for

 Review may be extended by written agreement between the MDEQ and the

 Defendant.

              (e)    In the absence of initiation of procedures set forth in Paragraph

 18.8 of this consent Decree by the Defendant, the MDEQ’s Statement of Decision

 shall be binding on the Parties.

       18.8   The MDEQ’s Statement of Decision pursuant to Paragraph 18.7, shall

 control unless, within twenty (20) Days after Defendant’s receipt of the MDEQ’s

 Statement of Decision, Defendant files with this Court a motion for resolution of the

 dispute, which sets forth the matter in dispute, the efforts made by MDEQ and the

 Defendant to resolve it, the relief requested, and the schedule, if any, within which

 the dispute must be resolved to ensure orderly implementation of this Consent

 Decree. Within thirty (30) Days of Defendant’s filing of a motion asking the Court




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 to resolve a dispute, MDEQ will file with the Court the administrative record that is

 maintained pursuant to Paragraph 18.4 of this Consent Decree.

       18.9   Any judicial review of the MDEQ’s Statement of Decision shall be

 limited to the administrative record. In proceedings on any dispute relating to the

 selection, extent, or adequacy of the Response Activities that are the subject of this

 Consent Decree, the Defendant shall have the burden of demonstrating on the

 administrative record that the position of the MDEQ is arbitrary and capricious or

 otherwise not in accordance with law. In proceedings on disputes not involving the

 Response Activities, including mixed questions of fact and law, the Defendant shall

 bear the burden of persuasion on factual issues under the applicable standards of

 review. Nothing herein shall prevent MDEQ from arguing that the Court should

 apply the arbitrary and capricious standard of review to any dispute under this

 Consent Decree.

       18.10 Notwithstanding the invocation of a dispute resolution proceeding,

 stipulated penalties shall accrue as set forth in Section XVII (Stipulated Penalties),

 but payment shall be stayed pending resolution of the dispute. In the event, and to

 the extent that Defendant does not prevail on the disputed matters, MDEQ may

 demand payment of stipulated penalties and Defendant shall pay stipulated

 penalties as set forth in Paragraph 17.5 of Section XVII (Stipulated Penalties) of

 this Consent Decree. The Defendant shall not be assessed stipulated penalties for

 disputes that are resolved in its favor.




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       18.11 Notwithstanding the provisions of this Section and in accordance with

 Section XVI (Reimbursement of the State’s Costs) and Section XVII (Stipulated

 Penalties) of this Consent Decree, the Defendant shall pay to MDEQ that portion of

 a demand for reimbursement of costs or for payment of stipulated penalties that is

 not the subject of an ongoing dispute resolution proceeding.


                   XIX. INDEMNIFICATION AND INSURANCE

       19.1   The State of Michigan does not assume the liability of any other Party

 by entering into this Consent Decree. This Consent Decree shall not be construed to

 be an indemnity by the State for the benefit of Defendant or any other person.

       19.2   The Defendant shall indemnify and hold harmless the State and its

 departments, agencies, officials, agents, employees, contractors, and representatives

 for any claims or causes of action that arise from, or on account of, acts or omissions

 of the Defendant, its officers, employees, agents, or any other person acting on its

 behalf or under its control, in performing the Response Activities required by this

 Consent Decree.

       19.3   The Defendant shall indemnify and hold harmless the State of

 Michigan and its departments, agencies, officials, agents, employees, contractors,

 and representatives for all claims or causes of action for damages or reimbursement

 from the State that arise from, or on account of, any contract, agreement, or

 arrangement between the Defendant and any person for the performance of

 Response Activities under this Consent Decree, including any claims on account of

 construction delays.

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       19.4   The State shall provide Defendant notice of any claim for which the

 State intends to seek indemnification pursuant to Paragraphs 19.2 or 19.3 of this

 Consent Decree.

       19.5   Neither the State of Michigan nor any of its departments, agencies,

 officials, agents, employees, contractors, or representatives shall be considered a

 party to any contract that is entered into by or on behalf of Defendant for the

 performance of Response Activities required by this Consent Decree. Neither

 Defendant nor its contractor shall be considered an agent of the State.

       19.6   Defendant waives all claims or causes of action against the State of

 Michigan and its departments, agencies, officials, agents, employees, contractors,

 and representatives for damages, reimbursement, or set-off of any payments made

 or to be made to the State that arise from, or on account of, any contract,

 agreement, or arrangement between Defendant and any other person for the

 performance of Response Activities in the North Kent Study Area, including any

 claims resulting from construction delays.

       19.7   Prior to commencing any Response Activities pursuant to this Consent

 Decree and for the duration of this Consent Decree, the Defendant shall secure and

 maintain comprehensive general liability insurance with limits of not less than Two

 Million Dollars ($2,000,000.00), combined single limit, which names the MDEQ, the

 MDAG, and the State of Michigan as additional insured parties. If the Defendant

 demonstrates by evidence satisfactory to the MDEQ that any contractor or

 subcontractor maintains insurance equivalent to that described above, then with



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 respect to that contractor or subcontractor, the Defendant needs to provide only

 that portion, if any, of the insurance described above that is not maintained by the

 contractor or subcontractor. Regardless of the insurance method used by the

 Defendant, and prior to commencement of Response Activities pursuant to this

 Consent Decree, the Defendant shall provide the MDEQ Project Manager and the

 MDAG with certificates evidencing said insurance and the MDEQ, the MDAG, and

 the State of Michigan’s status as additional insured parties. Such certificates shall

 specify the Wolverine World Wide, Inc. Consent Decree, and the Court Case No.

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 used to satisfy the requirements of this Section.

       19.8   As used in this Section XIX, “State” or “State of Michigan” shall mean

 the State of Michigan including all of its departments, agencies, officials, agents,

 employees, contractors, and representatives.


                XX.    COVENANTS NOT TO SUE BY THE STATE

       20.1   In consideration of the actions that will be performed and the

 payments that will be made by the Defendant under the terms of this Consent

 Decree, and except as specifically provided for in this Section and Section XXII

 (Reservation of Rights by the State) of this Consent Decree, the State of Michigan

 hereby covenants not to sue or to take further administrative action against the

 Defendant as of the Effective Date for Response Activities to address releases of

 PFAS Compounds in the North Kent Study Area, including but not limited to:




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              (a)   Provision of municipal water in the North Kent Study Area, as

 set forth in Paragraph 6.1 of this Consent Decree.

              (b)   Provision of filtered or alternative water in the North Kent

 Study Area as required by Paragraphs 7.5 of this Consent Decree.

              (c)   Residential well sampling in the North Kent Study Area as

 required by Paragraph 7.6 of this Consent Decree.

              (d)   Response Activities at the Tannery that Defendant performs in

 compliance with the requirements of Section VII of this Consent Decree (Paragraph

 7.7).

              (e)   Response Activities at the House Street Disposal Site that

 Defendant performs in compliance with the requirements of Section VII of this

 Consent Decree (Paragraph 7.8).

              (f)   Response Activities addressing releases of PFAS Compounds

 into groundwater and surface water that Defendant performs in compliance with

 the requirements of Section VII of this Consent Decree as required by Paragraphs

 7.9 and 7.10 of this Consent Decree.

              (g)   Recovery of Past Response Activity Costs associated with the

 North Kent Study Area.

              (h)   Recovery of Future Response Activity Costs associated with the

 North Kent Study Area that the Defendant has paid as set forth in Section XVI

 (Reimbursement of the State’s Costs) of this Consent Decree.




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              (i)    Air deposition modeling or fish contaminant monitoring that

 may be associated with Defendant’s activities at the Tannery.

       20.2   Notwithstanding the foregoing, this Covenant Not to Sue shall not

 cover Natural Resource Damages which shall be governed by Section XXI (Natural

 Resource Damages).

       20.3   The covenants not to sue provided to Defendant in Paragraphs 20.1

 shall extend to Defendant for PFAS Compounds impacts within the North Kent

 Study Area from locations outside the North Kent Study Area.

       20.4   The covenants not to sue provided to Defendant shall extend to

 Contributing Parties as defined in this Consent Decree after all of the following

 conditions are satisfied:

              (a)    Defendant has submitted to MDEQ written documentation as

 required by Paragraph 4.3 attesting that Defendant has obtained contribution from

 the Contributing Party with respect to Response Activities that Defendant is

 required to perform under this Consent Decree; and

              (b)    Defendant has submitted to MDEQ a statement signed by a

 person authorized to bind the Contributing Party affirming that the Contributing

 Party agrees, without limitation, to be bound by the provisions of Paragraph 21.1,

 Section XXII (Reservation of Rights by the State), and Section XXIV (Covenant Not

 to Sue by Defendant) of this Consent Decree.

       20.5   The covenants not to sue extend only to Defendant and to Contributing

 Parties and do not extend to any other person.



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                     XXI. NATURAL RESOURCE DAMAGES

       21.1   MDEQ and Defendant agree that any limitations period on MDEQ’s

 claims for natural resource damages against Defendant and Contributing Parties is

 tolled for a period of ten (10) years from the Effective Date.

       21.2   Defendant shall receive natural resource damages credit from the

 State of Michigan for Defendant’s expenditures upon completion of the activities set

 forth in this Paragraph 21.2. Such credit shall be equal in amount to Defendant’s

 expenditures on the following activities:

              (a)    Wetland restoration at the Tannery conducted under Paragraph

 7.7 of this Consent Decree;

              (b)    Bank removal and restoration at the Tannery conducted under

 Paragraph 7.7 of this Consent Decree;

              (c)    The GSI studies and investigation conducted under Paragraph

 7.10 of this Consent Decree;

              (d)    Response Activities undertaken by Defendant as a result of the

 GSI investigations and conducted pursuant to an MDEQ approved work plan; and

              (e)    Other activities not otherwise required by this Consent Decree

 that are proposed by Defendant and approved by MDEQ to address natural

 resources at the Tannery or House Street Disposal Site.

       21.3   Upon the occurrence of either of the following events, MDEQ will

 covenant not to sue Defendant and Contributing Parties for any natural resource

 damages arising from actual or threatened releases of PFAS Compounds at the



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 Tannery or other disposal areas or the presence of PFAS Compounds in the North

 Kent Study Area:

              (a)    MDEQ and Defendant agree that no Response Activities are

 necessary as a result of the GSI investigations conducted pursuant to Paragraph

 7.10(a) or (e) of this Consent Decree; or

              (b)    MDEQ and Defendant agree that Defendant completed all

 necessary Response Activities for the GSI pathways as identified in the work plans

 approved by MDEQ pursuant to Paragraph 7.10(a) or (e) of this Consent Decree.


               XXII. RESERVATION OF RIGHTS BY THE STATE

       22.1   The covenants not to sue apply only to those matters specified in

 Paragraph 20.1 of Section XX (Covenants Not to Sue by the State) and Section XXI

 (Natural Resource Damages) of this Consent Decree. The State expressly reserves,

 and this Consent Decree is without prejudice to, all rights to take administrative

 action or to file a new action pursuant to any applicable authority for any matters

 not covered by Section XX (Covenants Not to Sue by the State) and Section XXI

 (Natural Resource Damages), including but not limited to the following:

              (a)    With respect to Defendant:

                     (i)    Defendant’s breach of, or the enforcement of, this Consent

 Decree, including the performance of Response Activities that are required under

 this Consent Decree.




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                    (ii)    Defendant’s failure to pay or delay in paying those Future

 Response Activity Costs that the Defendant is required to pay under this Consent

 Decree.

                    (iii)   Any matters for which the State is owed indemnification

 under Section XIX (Indemnification and Insurance) of this Consent Decree.

                    (iv)    The release or threatened release of hazardous substances

 that occur during or after the performance of Response Activities required by this

 Consent Decree or any other violations of state or federal law for which Defendant

 has not received a covenant not to sue.

              (b)   With respect to Defendant and Contributing Parties:

                    (i)     The past, present, or future treatment, handling, disposal,

 release, or threat of release of hazardous substances that occur outside the North

 Kent Study Area.

                    (ii)    The past, present, or future treatment, handling, disposal,

 release, or threat of release of hazardous substances taken from the North Kent

 Study Area to areas outside the North Kent Study Area.

                    (iii)   Natural Resource Damages, except as provided for in

 Section XXI (Natural Resource Damages).

                    (iv)    Criminal acts.

                    (v)     Any issue addressed in Section 20132 of Part 201, Mich.

 Comp. Laws § 324.20132 as it relates to unknown conditions at or emanating from

 the North Kent Study Area. For the purposes of this section, “unknown conditions”



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 shall not include releases of PFAS Compounds in the North Kent Study Area as of

 the Effective Date as evidenced in any sampling data, description, depiction or other

 information available to MDEQ, as well as new data or information related to the

 migration, expansion, change in shape or concentration of such prior releases from

 known or suspected source areas within the North Kent Study Area.

       22.2   The State reserves the right to take action against the Defendant,

 Contributing Parties, or both if it discovers at any time that any material

 information provided by such person prior to or after entry of this Consent Decree

 was false or misleading.

       22.3   The State expressly reserves all of its rights and defenses pursuant to

 any available legal authority to enforce this Consent Decree.

       22.4   In addition to, and not as a limitation of any other provision of this

 Consent Decree, the State retains all of its authority and reserves all of its rights to

 perform, or contract to have performed, any Response Activities that the State

 determines are necessary.

       22.5   In addition to, and not as a limitation of any provision of this Consent

 Decree, the State retains all of its information-gathering, inspection, access and

 enforcement authorities and rights under Part 201 and any other applicable statute

 or regulation.

       22.6   Failure by the State to enforce any term, condition, or requirement of

 this Consent Decree in a timely manner shall not:




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               (a)   Provide or be construed to provide a defense for the Defendant’s

 noncompliance with any such term, condition, or requirement of this Consent

 Decree.

               (b)   Estop or limit the authority of the State to enforce any such

 term, condition, or requirement of the Consent Decree, or to seek any other remedy

 provided by law.

       22.7    This Consent Decree does not constitute a warranty or representation

 of any kind by the State that the Response Activities performed by the Defendant in

 accordance with the MDEQ-approved Response Activity Plans required by this

 Consent Decree will result in the achievement of the performance objectives stated

 in Paragraph 7.1 of Section VII (Performance of Response Activities) of this Consent

 Decree or the criteria established by law, or that those Response Activities will

 assure protection of public health, safety, or welfare, or the environment.

       22.8    Except as provided in Paragraph 20.1 of Section XX (Covenants Not to

 Sue by the State), nothing in this Consent Decree shall limit the power and

 authority of the State of Michigan, pursuant to Section 20132(8) of Part 201, Mich.

 Comp. Laws § 324.20132(8) or other legal authority, to direct or order all

 appropriate action to protect the public health, safety, or welfare, or the

 environment; or to prevent, abate, or minimize a release or threatened release of

 hazardous substances, pollutants, or contaminants on, at, or from the North Kent

 Study Area.




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        22.9    Except as specifically set forth in Section XX (Covenants Not to Sue by

  the State) and Section XXI (Natural Resource Damages), the State expressly

  reserves its right to bring and maintain any action against Contributing Parties for

  any claims the State may have relating to PFAS Compounds and for the impacts of

  PFAS Compounds outside the North Kent Study Area.


  XXIII.        COVENANT NOT TO SUE BY INTERVENING TOWNSHIPS

        23.1    In consideration of the actions that will be performed and the

  payments that will be made by the Defendant under the terms of this Consent

  Decree the Intervening Townships hereby release and covenant not to sue or to take

  further administrative action against the Defendant and Contributing Parties as of

  the Effective Date for matters or Response Activities arising from the presence prior

  to the Effective Date or release of PFAS Compounds in or from the North Kent

  Study Area other than enforcement of this Consent Decree, including but not

  limited to:

                (a)   Extending Municipal Water in the North Kent Study Area as

  required by Paragraph 6.1 of this Consent Decree.

                (b)   Provision of filtered or alternative water in the North Kent

  Study Area as required by Paragraphs 7.5 of this Consent Decree.

                (c)   Residential well sampling in the North Kent Study Area as

  required by Paragraph 7.6 of this Consent Decree.




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                 (d)   Response Activities at the Tannery that Defendant performs in

  compliance with the requirements of Section VII of this Consent Decree (Paragraph

  7.6).

                 (e)   Response Activities at the House Street Disposal Site that

  Defendant performs in compliance with the requirements of Section VII of this

  Consent Decree (Paragraph 7.7).

                 (f)   Response Activities addressing releases of PFAS Compounds

  into groundwater and surface water that Defendant performs in compliance with

  the requirements of Section VII of this Consent Decree as required by Paragraphs

  7.9 and 7.10 of this Consent Decree.

                 (g)   Construction of a permanent Granulated Activated Carbon

  system at the water treatment plant.

                 (h)   Construction of a new permanent replacement wellfield for

  Plainfield’s Versluis wellfield.

                 (i)   Recovery of Past Response Activity Costs associated with the

  North Kent Study Area.

                 (j)   Recovery of Future Response Activity Costs associated with the

  North Kent Study Area.

          23.2   The release and covenants not to sue by the Intervening Townships

  apply only to those matters specified in Paragraph 23.3 of Section XX (Covenants

  Not to Sue by the Intervening Townships) of this Consent Decree. The Intervening

  Townships expressly reserve, and this Consent Decree is without prejudice to, all



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  rights to file a new action pursuant to any applicable authority against the

  Defendant with respect to the following:

               (a)    Defendant’s breach of, or the enforcement of, this Consent

  Decree, as it relates to Wolverine’s commitments to the Townships, specifically

  sections XX; and

               (b)    Matters unrelated to the presence of PFAS Compounds in the

  North Kent Study Area.

        23.3   The covenants not to sue extend only to the Defendant and

  Contributing Parties and do not extend to any other person.


   XXIV. COVENANT NOT TO SUE BY DEFENDANT AND CONTRIBUTING
                              PARTIES

        24.1   The Defendant and Contributing Parties hereby covenant not to sue

  and agree not to assert or maintain any civil, judicial, or administrative action

  against the State, its agencies, the Intervening Townships, or their authorized

  representatives, for any claims or causes of action against the State that arise from

  this Consent Decree (other than resolution of disputes pursuant to Section XVIII

  (Dispute Resolution for Defendant and MDEQ) arising hereunder), including, but

  not limited to, any direct or indirect claim for reimbursement from the Cleanup and

  Redevelopment Fund pursuant to Section 20119(5) of the NREPA or any other

  provision of law.

        24.2   After the Effective Date of this Consent Decree, if the MDAG initiates

  any administrative or judicial proceeding for injunctive relief, recovery of Response



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  Activity Costs, or other appropriate relief arising from claims reserved in Section

  XXII (Reservation of Rights by the State) relating to the North Kent Study Area,

  the Defendant and Contributing Parties agree not to assert and shall not maintain

  any defenses or claims that are based upon the principles of waiver, res judicata,

  collateral estoppel, issue preclusion, or claim-splitting, or that are based upon a

  defense that contends any claims raised by the State in such a proceeding were or

  should have been brought in this case; provided, however, that nothing in this

  paragraph affects the enforceability of the covenants not to sue set forth in Section

  XX (Covenants Not to Sue by the State) of this Consent Decree.


       XXV. EFFECT OF SETTLEMENT/CONTRIBUTION PROTECTION

        25.1   Except as provided herein or by operation of law, nothing in this

  Consent Decree shall be construed to create any right in, or grant any cause of

  action to, any person not a Party to this Consent Decree. Each Party to this

  Consent Decree and each Contributing Party expressly reserves any and all rights,

  defenses, claims, demands, and causes of action which such person may have

  against any person not a Party or Contributing Party hereto with respect to any

  release of PFAS Compounds in the North Kent Study Area. Unless otherwise

  specifically stated, this Consent Decree does not limit or affect the rights of any

  Party against any third parties not Party to this Consent Decree, nor does it limit

  the rights of third parties not Party to this Consent Decree against any Party to this

  Consent Decree, except as otherwise provided by law.




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        25.2   The Parties agree, and by approving and entering this Consent Decree

  this Court finds, that the Defendant and any Contributing Parties that satisfy all

  the requirements of Paragraph 20.4 of this Consent Decree are entitled to

  protection from contribution actions or claims as provided by Section 20129(5) of

  Part 201, Mich. Comp. Laws § 324.20129(5), Section 113(f)(2) of the Comprehensive

  Environmental Response, Compensation, and Liability Act, 1980 PL 96-510, as

  amended (CERCLA), 42 U.S.C. § 9613(f)(2); and to the extent provided in Section

  XX (Covenants Not to Sue by the State) of this Consent Decree, Defendant and the

  Contributing Parties that satisfy all the requirements of Paragraph 20.4 of this

  Consent Decree shall not be liable for claims for contribution for the matters set

  forth in Paragraph 20.1 of Section XX (Covenants Not to Sue by the State) of this

  Consent Decree, to the extent allowable by law. The Parties agree that entry of this

  Consent Decree constitutes an judicially approved settlement for purposes of

  Section 113(f)(3)(B) of the CERCLA, 42 U.S.C. § 9613(f)(3)(B), pursuant to which

  Defendant and the Contributing Parties that satisfy all the requirements of

  Paragraph 20.4 of this Consent Decree have, as of the Effective Date, resolved

  liability to MDEQ for the matters set forth in Paragraph 20.1 of this Consent

  Decree. Except as set forth herein pursuant to Section 20129(5) of Part 201, Mich.

  Comp. Laws § 324.20129(5), entry of this Consent Decree does not discharge the

  liability of any other person that may be liable under Section 20126 of Part 201,

  Mich. Comp. Laws § 324.20126, or Section 9607 and Section 9613 of the CERCLA.

  Pursuant to Section 20129(9) of Part 201, Mich. Comp. Laws § 324.20129(9), any



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  action by Defendant or the Contributing Parties that satisfy all the requirements of

  Paragraph 20.4 of this Consent Decree for contribution from any person that is not

  a Party to this Consent Decree shall be subordinate to the rights of the State of

  Michigan, if the State files an action pursuant to the NREPA or other applicable

  state or federal law.

        25.3    Defendant’s compliance with the terms of the Consent Decree and

  achievement of the objectives of the work plans required within that Consent

  Decree satisfy all the MDEQ claims in its Amended Complaint for declaratory

  relief, injunctive relief, and costs to address risks posed by PFAS Compounds

  arising from releases of PFAS Compounds by Defendant affecting the North Kent

  Study Area.

        25.4    This Consent Decree supersedes the May 6, 1966, settlement

  agreement between Defendant and Plainfield (Appendix T—the “1966 Settlement

  Agreement”), to the extent the 1966 Settlement Agreement is still in effect.

  Compliance with this Consent Decree constitutes compliance with all provisions of

  the 1966 Settlement Agreement.


                               XXVI. MODIFICATIONS

        26.1    This Consent Decree, including attachments, shall constitute the

  entire agreement of the Parties and shall not be modified by any prior oral or

  written agreement, representation, or understanding. For Sections VII

  (Performance of Response Activities), IX (Access), X (Sampling and Analysis), XI

  (Emergency Response), XIII (Record Retention/Access to Information), XV

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  (Submissions and Approvals), XVI (Reimbursement of the State’s Costs), XIX

  (Indemnification and Insurance), XX (Covenants Not to Sue by the State), XXI

  (Natural Resources Damages), and XXII (Reservations of Rights by the State), the

  terms of this Consent Decree, including any attached Appendices, may be modified

  only by a subsequent written agreement signed by MDEQ and the Defendant. For

  all other sections of the Consent Decree, the terms of the Consent Decree, including

  any attached Appendices, may be modified only by a subsequent written agreement

  signed by all Parties. Any material modification of this Consent Decree shall be

  effective only upon approval by the Court. Material changes shall not include

  agreed-upon changes to Response Activity Plans required to be submitted for

  MDEQ approval under Section VII (Performance of Response Activities) or to

  deadlines in any schedules approved by MDEQ or the Townships in accordance with

  the provisions of this Consent Decree.

        26.2   Nothing in this Consent Decree shall be deemed to alter the Court’s

  power to enforce, supervise, or approve modifications to this Consent Decree.

        26.3   The provisions of this Consent Decree are not severable. The Parties’

  consent hereto is conditioned upon the entry of this Consent Decree in its entirety

  without modification, addition, or deletion except as agreed to by the Parties.

        26.4   Neither unanticipated or increased costs or expenses associated with

  implementation of actions called for by this Consent Decree, nor economic hardship

  or changed financial circumstances of Defendant, shall serve as a basis for

  modification of this Consent Decree unless agreed to by the Parties.



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        26.5   Any disputes concerning modification of this Consent Decree shall be

  resolved pursuant to Section XVIII (Dispute Resolution for MDEQ and Defendant),

  provided, however, that, instead of the burden of proof provided by Paragraph 18.9,

  the Party seeking the modification bears the burden of demonstrating that it is

  entitled to the requested modification in accordance with Federal Rule of Civil

  Procedure 60(b).


                       XXVII.       SEPARATE DOCUMENTS

        The Parties may execute this Consent Decree in duplicate original form for

  the primary purpose of obtaining multiple signatures, each of which shall be

  deemed an original, but all of which together shall constitute the same instrument.


                             XXVIII.      INTEGRATION

        This Consent Decree and its attachments constitute the final, complete, and

  exclusive agreement and understanding among the Parties regarding the

  settlement embodied in the Consent Decree and supersedes all prior agreements or

  understandings, whether oral or written, concerning the settlement embodied

  herein. Other than deliverables that are subsequently submitted and approved

  pursuant to this Consent Decree, the Parties acknowledge that there are no

  representations agreements, or understandings relating to the settlement other

  than those expressly contained in this Consent Decree and its attachments.




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                               XXIX. TAX REPORTING

        All payments made and all expenses, including Response Activity Costs,

  incurred by Defendant pursuant to this Consent Decree are intended to constitute

  restitution (i.e. remediation of property) for damage or harm which was or may be

  caused by the violation of any law or the potential violation of any law, as provided

  in IRC section 162(f), and the terms of this Consent Decree reflect that the

  Defendant’s payments will, in fact, be used for such purposes.

        To the extent that MDEQ or the Townships are required under IRC section

  6050X to report amounts paid pursuant to this Consent Decree to the Internal

  Revenue Service, MDEQ and the Townships will report such payment consistent

  with the character of the payment as restitution, remediation, or an amount paid to

  come into compliance with the law.


                              XXX. FINAL JUDGMENT

        Upon approval and entry of this Consent Decree by the Court, this Consent

  Decree shall constitute a final judgment between and among the Parties as to the

  Parties’ claims with respect to the release or presence of PFAS Compounds in the

  North Kent Study Area, including the claims specified in Section XX (Covenants

  Not to Sue by the State) and Section XXIII (Covenants Not to Sue by the

  Intervening Townships) of this Consent Decree, subject to the reservations of rights

  and reopeners in Section XXII (Reservation of Rights by the State) of this Consent

  Decree, and as to the claims and subject to the reservations of rights and reopeners


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  specified in Section XXIV (Covenant Not to Sue by Defendant) of this Consent

  Decree. The Court finds that there is no reason for delay and therefore enters this

  judgment as a final judgment under Fed. R. Civ. P. 54 and 58.

        SO ORDERED THIS 19th DAY OF FEBRUARY, 2020.


                                                  /s/ Janet T. Neff
                                                _________________________________
                                                Hon. Janet T. Neff
                                                United States District Judge




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   FOR INTERVENING PLAINTIFFS PLAINFIELD CHARTER TOWNSHIP
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